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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              Charlottesville Division

ELIZABETH SINES, SETH WISPELWEY,
MARISSA BLAIR, TYLER MAGILL, APRIL
MUNIZ, HANNAH PEARCE, MARCUS
MARTIN, JOHN DOE, JANE DOE 1, JANE
DOE 2, and JANE DOE 3,

                              Plaintiffs,
v.

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES
ALEX FIELDS, JR., VANGUARD
AMERICA, ANDREW ANGLIN,                                  Civil Action No. ___________
                                                                          3:17CV00072
MOONBASE HOLDINGS, LLC, ROBERT
“AZZMADOR” RAY, NATHAN DAMIGO,
ELLIOT KLINE a/k/a/ ELI MOSELY,
IDENTITY EVROPA, MATTHEW                                  JURY TRIAL DEMANDED
HEIMBACH, MATTHEW PARROTT a/k/a
DAVID MATTHEW PARROTT,
TRADITIONALIST WORKER PARTY,
MICHAEL HILL, MICHAEL TUBBS,
LEAGUE OF THE SOUTH, JEFF SCHOEP,
NATIONAL SOCIALIST MOVEMENT,
NATIONALIST FRONT, AUGUSTUS SOL
INVICTUS, FRATERNAL ORDER OF THE
ALT-KNIGHTS, MICHAEL “ENOCH”
PEINOVICH, LOYAL WHITE KNIGHTS OF
THE KU KLUX KLAN, and EAST COAST
KNIGHTS OF THE KU KLUX KLAN a/k/a
EAST COAST KNIGHTS OF THE TRUE
INVISIBLE EMPIRE,

                              Defendants.


                                            COMPLAINT


       Plaintiffs, by their undersigned attorneys, allege upon knowledge as to themselves and

their own actions and upon information and belief as to all other matters, as follows:
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                                  NATURE OF THE ACTION

       1.      Over the weekend of August 11 and 12, 2017, hundreds of neo-Nazis and white

supremacists traveled from near and far to descend upon the college town of Charlottesville,

Virginia, in order to terrorize its residents, commit acts of violence, and use the town as a

backdrop to showcase for the media and the nation a neo-nationalist agenda.

       2.      Plaintiffs in this action are University of Virginia undergraduates, law students

and staff, persons of faith, ministers, parents, doctors, and businesspersons—white, brown, and

black; Christian and Jewish; young and old. While Plaintiffs come from different backgrounds,

they share a deep love of this country, their city, and our values. They also share a fierce

determination to defend those values. Each Plaintiff in this action was injured as a result of the

events in Charlottesville on August 11 and 12. One Plaintiff suffered a stroke. Two plaintiffs

were struck in a car attack. Others suffered and continue to suffer deep and debilitating

psychological and emotional distress that prevents them from resuming their former lives or

from enjoying the basic sense of peace, safety, and tranquility that most in this country can take

for granted.

       3.      Defendants are the individuals and organizations that conspired to plan, promote,

and carry out the violent events in Charlottesville. They are neo-Nazis, Klansmen, white

supremacists, and white nationalists. They embrace and espouse racist, anti-Semitic, sexist,

homophobic, and xenophobic ideologies. Defendants brought with them to Charlottesville the

imagery of the Holocaust, of slavery, of Jim Crow, and of fascism. They also brought with them

semi-automatic weapons, pistols, mace, rods, armor, shields, and torches. They chanted “Jews

will not replace us,” “blood and soil,” and “this is our town now.” Starting at least as early as the

beginning of 2017 and continuing through today, they have joined together for the purpose of



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inciting violence and instilling fear within the community of Charlottesville and beyond,

wherever their messages are received.

       4.      There is one thing about this case that should be made crystal-clear at the outset—

the violence in Charlottesville was no accident. Under the pretext of a “rally,” which they

termed “Unite the Right,” Defendants spent months carefully coordinating their efforts, on the

internet and in person. They exhorted each other: “If you want to defend the South and Western

civilization from the Jew and his dark-skinned allies, be at Charlottesville on 12 August,” and,

“Next stop: Charlottesville, VA. Final stop: Auschwitz.” In countless posts on their own

websites and on social media, Defendants and their co-conspirators promised that there would be

violence in Charlottesville, and violence there was. As Defendant Eli Mosley, one of the lead

organizers for the rally, declared: “We are [] going to Charlottesville. Our birthright will be

ashes & they’ll have to pry it from our cold hands if they want it. They will not replace us

without a fight.”

       5.      The violence, suffering, and emotional distress that occurred in Charlottesville

was a direct, intended, and foreseeable result of Defendants’ unlawful conspiracy. It was all

according to plan—a plan they spent months working out and whose implementation they

actively oversaw as events unfolded on the ground.

       6.      The events of August 11 and 12—now commonly referred to simply as

“Charlottesville”—were part of Defendants’ coordinated campaign to intimidate, harass, incite,

and cause violence to people based on their race, religion, ethnicity, and sexual orientation in

violation not only of the values that thousands of American soldiers have died for, but also

numerous state and federal laws. As the Utah Senator Orrin Hatch said: “We should call evil by




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its name. My brother didn’t give his life fighting Hitler for Nazi ideas to go unchallenged here at

home.”

         7.     By this lawsuit, Plaintiffs seek to challenge Defendants’ actions under the laws of

the United States of America and the Commonwealth of Virginia. Plaintiffs seek compensatory

and injunctive relief. The aim of this lawsuit is to ensure that nothing like this will happen again

at the hands of Defendants—not on the streets of Charlottesville, Virginia, and not anywhere else

in the United States of America.

                                 JURISDICTION AND VENUE

         8.     The court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.

         9.     Venue is properly in the Western District of Virginia pursuant to 28 U.S.C.

§ 1391(b) because Plaintiffs’ claims arose in Charlottesville, Virginia, which is located in the

Western District of Virginia.

                                         THE PARTIES

A.       Plaintiffs

         10.    Plaintiff Tyler Magill is a resident of the Commonwealth of Virginia and an

employee at the library of the University of Virginia (“UVA”). He lives in Charlottesville with

his wife and child. On August 11 and 12, Magill participated in non-violent protests of

Defendants’ planned events. Following the events of the weekend, Magill collapsed at his place

of work and suffered a trauma-induced stroke. Magill spent two days in the hospital and may

never fully recover from the resulting brain injuries. Magill has not been able to return to his job

at the UVA library.

         11.    Plaintiff Reverend Seth Wispelwey was born and raised in Charlottesville and

attended the University of Virginia. He moved back to Charlottesville four years ago with his

wife and daughter. Wispelwey has worked at numerous non-profit organizations that advocate

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for human rights, including as the head of an organization protecting victims of human

trafficking. Wispelwey is an ordained Minister with the United Church of Christ and the

Directing Minister of Restoration Village Arts. He is also the co-founder of a membership

organization for clergy of different faiths from across the country, called Congregate, which

organized numerous trainings in non-violent protest for residents of Charlottesville leading up to

the events of August 11 and 12. As a result of Defendants’ intentional and coordinated plans to

commit violence against those who stood up for minority residents in Charlottesville, Wispelwey

was harassed, intimidated, and assaulted by Defendants and their co-conspirators. Since the

events of the weekend, Wispelwey has suffered extreme emotional distress that has manifested in

physical symptoms including constricted chest pain, difficulty sleeping (including nightmares

concerning the events of August 11 and 12), and the inability to return full-time to work.

       12.     Plaintiff April Muñiz is a resident of the Commonwealth of Virginia. Before the

events of August 12, she was the Director of Clinical Operations at a company that helps develop

new treatments for patients suffering from incurable diseases. On August 12, Muñiz peacefully

protested Defendants’ planned event. As a result of Defendants’ intentional and coordinated

plans to commit violence against minority residents, Muñiz was intimidated and harassed on

multiple occasions throughout the weekend. Among other things, Muñiz was close to being hit

by the car that Defendant James Alex Fields, Jr. intentionally drove into a crowd of protestors in

an act of domestic terrorism. Muñiz has suffered severe emotional injury, has been diagnosed

with acute stress disorder and trauma, and has not been able to return to work. She has suffered

economic loss as a result of her injuries.

       13.     Plaintiff John Doe is an African-American resident of the Commonwealth of

Virginia and a student at University of Virginia. On August 11, John Doe peacefully protested



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Defendants’ planned event. On the basis of his race, John Doe was intimidated, harassed,

assaulted, and sprayed with caustic substances.

       14.     Plaintiff Hannah Pearce is a dermatologist who lives in Charlottesville with her

husband and four children. Pearce and her family are active members of Congregation Beth

Israel. On August 12, Pearce and her son peacefully protested Defendants’ planned event. On

the basis of her religion, Pearce was threatened, harassed, intimidated, and physically assaulted.

Subsequently, a few days after the Unite the Right “rally,” Defendants Andrew Anglin and

Moonbase Holdings, LLC’s website, Daily Stormer, intending to intimidate Pearce and her son,

posted their picture online.

       15.     Plaintiff Elizabeth Sines, a resident of the Commonwealth of Virginia, is a

second-year law student at the University of Virginia Law School, and a graduate of Cornell

University. On August 11 and 12, Sines peacefully protested Defendants’ planned events. As a

result of witnessing the events of the weekend, including the domestic terrorist attack on August

12 where Defendant Fields drove a car into a crowd, Sines has suffered from severe emotional

distress and shock.

       16.     Plaintiff Marissa Blair is a multi-racial resident of the Commonwealth of Virginia.

She works as a paralegal. On August 12, Blair was peacefully protesting when Defendant Fields

drove his car into a crowd of protestors, killing Blair’s co-worker and friend, Heather Heyer.

Fields’ car narrowly missed Blair only because her fiancé, Plaintiff Marcus Martin, pushed her

out of the way before being hit himself. Blair suffered physical injuries and continues to suffer

from severe emotional distress as a result of Defendants’ actions.

       17.     Plaintiff Marcus Martin is an African-American resident of the Commonwealth of

Virginia. He works as a landscaper. On August 12, Martin was peacefully protesting the Unite



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the Right "rally." He was struck by Defendant Fields, who drove his car into a crowd of

protestors in an act of domestic terrorism. Martin pushed his fiancée out of the way of the

speeding car, but he was severely injured by the attack, including sustaining a broken leg and

ankle that required surgery. He continues to suffer severe emotional distress as a result of

Defendants’ actions.

       18.     Plaintiff Jane Doe 1 grew up in Charlottesville, VA and is an undergraduate at

UVA. On August 11, Jane Doe 1 was within a group of community members and students who

were surrounded by torch-bearing neo-Nazis and white supremacists at the Rotunda. On August

12, Jane Doe 1 peacefully protested Defendants’ planned event with her mother and sister. Jane

Doe 1 and her sister were on Fourth street when Defendant Fields intentionally drove a car into

the crowd of protestors in an act of domestic terrorism. Jane Doe 1 was struck by the vehicle

driven by Fields and sustained many injuries. The car broke both of her legs, including a tibial

plateau fracture in her knee which required major surgery to repair bone, multiple ligaments, and

cartilage. Jane Doe 1 spent several days in the hospital following this surgery. She suffered

severe contusions all over her body, a concussion, and a head injury requiring stitches. Jane Doe

1’s recovery will take over a year and requires extensive physical therapy. Jane Doe 1 also

suffered severe emotional distress as a result of the planned event and terrorist attack on August

12.

       19.     Plaintiff Jane Doe 2 has been a resident of the Commonwealth of Virginia for

seventeen years. Jane Doe 2 and her family are members of the Congregation Beth Israel in

Charlottesville, the oldest synagogue in Virginia. On August 12, Jane Doe 2 peacefully

protested Defendants’ planned event. Jane Doe 2’s daughter also peacefully protested on August

12 and was struck by Defendant Fields, who intentionally drove a car into a crowd of protestors



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in an act of domestic terrorism. As a result of being struck by the car, Jane Doe 2’s daughter’s

legs were broken and she suffered severe head injuries. Jane Doe 2 has suffered (and continues

to suffer) extreme emotional distress and broke her wrist assisting her daughter in her debilitated

state.

         20.   Plaintiff Jane Doe 3 is a Jewish resident of the Commonwealth of Virginia. Jane

Doe 3 grew up in Charlottesville, VA and attended William and Mary College. After working

with refugees and migrants in Malaysia, Jane Doe 3 returned home to Charlottesville at the end

of July 2017. On August 12, Jane Doe 3 peacefully protested Defendants’ planned event with

her mother and sister. Jane Doe 3 and her sister were on Fourth street when Defendant Fields

intentionally drove a car into the crowd of protestors in an act of domestic terrorism. Her sister

was struck by the vehicle, which broke both of her legs and caused severe head injuries. Jane

Doe 3 remained by her sister’s side and helped provide first aid for 25 minutes while they waited

for an ambulance to take them to the emergency room. Jane Doe 3 suffered severe emotional

distress as a result of the planned event and terrorist attack on August 12.

B.       Defendants

         21.   Defendant Jason Kessler is a white nationalist and a member of Proud Boys. A

resident of Charlottesville, Virginia, Kessler uses the handle “MadDimension” on Discord and

@The_MadDimension on Twitter, and, together with Defendant Mosley, led the organizing

efforts for the Unite the Right “rally” in Charlottesville. Kessler is also the president and

founder of Unity and Security for America, a grassroots organization that claims it is dedicated

to “defending Western civilization” and is a contributor to websites like VDare.com, a

xenophobic, nativist publication, and the Daily Caller, a conservative news outlet. Kessler was

the lead organizer for the Unite the Right “rally” and was one of the names featured on a

promotional poster for the “rally.” In January 2017, Kessler attacked a man in downtown
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Charlottesville while collecting signatures for his petition to remove the African-American vice

mayor, Wes Bellamy, from the Charlottesville City Council. In April, Kessler pleaded guilty to

a misdemeanor charge and was then charged with felony perjury for lying to the police in

connection with the assault.

       22.     Defendant Richard Spencer, a resident of the Commonwealth of Virginia who

attended the University of Virginia, is the head of the white nationalist “think tank,” National

Policy Institute. In 2010, Spencer created an online publication called altright.com. Spencer

organizes his followers to act in furtherance of his ideology, calling for an “ethnic cleansing.”

Spencer planned and led the violent torchlight rally at his alma mater on Friday evening. Spencer

actively promoted the Unite the Right "rally" on Saturday to his numerous followers on social

media and encouraged and incited intimidation and violence based racial, religious, and ethnic

animosity.

       23.     Defendant Christopher Cantwell is a resident of New Hampshire and is a white

nationalist and a self-proclaimed fascist. He hosts “Radical Agenda,” a podcast and YouTube

show streamed live multiple times a week, and runs the website christophercantwell.com.

Cantwell has stated that he “realized that [Jewish people] were responsible for the communism,”

and decided, “let’s fucking gas the kikes and have a race war.” He has written: “I think chemical

and biological weapons can do a great deal of good for mankind. Releasing nerve gas or some

kind of lethal virus into a left wing protest could prepare the bodies for physical removal without

making a big scene for the cameras or destroying anything of value.” In connection with the

Unite the Right “rally” in Charlottesville on August 11 and 12, Cantwell has been charged with

two felony counts of illegal use of tear gas and one felony count of malicious body injury by

means of a caustic substance.



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        24.     Defendant Alex Fields, Jr., a resident of Ohio, is a member of Defendant

 Vanguard America. Motivated by racial, religious, and ethnic animosity, on August 12, Fields

 committed an act of domestic terrorism, by driving a Dodge Challenger into a crowd of

 protesters, injuring dozens and killing a 32-year old woman, Heather Heyer. He has been

 charged by the Charlottesville police with one count of second degree murder, three counts of

 malicious wounding, and one count of hit and run (leaving the scene of an accident).

        25.     Defendant Vanguard America is an unincorporated association pursuant to

 Virginia Code § 8.01-15. Members of Vanguard America voluntarily join for the common

 purpose of promoting white nationalism and believe that people with “white blood” have a

 special bond with “American soil.” It was formed in California in 2015 and is comprised of

 twelve chapters across the country. The group’s website states that to join the group, a person

 must be “of at least 80% white/European heritage.” Defendant Fields is a member of Defendant

 Vanguard America; he wore their uniform and carried a Vanguard America shield at the Unite

 the Right event on August 12.

        26.     Defendant Andrew Anglin is a resident of Ohio, a neo-Nazi, and the founder of

 Daily Stormer—an organization that operates through a website that Anglin publishes. Daily

 Stormer has called its website the “world’s most genocidal” website. Daily Stormer was named

 after Der Stürmer, a Nazi propaganda tabloid known for virulently anti-Semitic caricatures and

 published by Julius Streicher, who was later convicted of crimes against humanity at Nuremberg.

 Until recently, Daily Stormer had a website at www.dailystormer.com. Anglin and his associates

 at Daily Stormer, including Defendant Robert "Azzmador" Ray, use Daily Stormer’s website “as

 a hardcore front for the conversion of masses into a pro-white, Anti-semitic ideology,” to “sell []

 global white supremacy,” and to “make a racist army.” The website, which became the most



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 visited hate site on the Internet in 2016, includes sections titled “Jewish Problem” and “Race

 War.” The Chief Technical Officer of Daily Stormer has posited that Daily Stormer “has been

 effective at what [it is] doing” by “the manifestation of our people on the ground in the real

 world.” Followers of Anglin and Daily Stormer, who call themselves “Stormers,” communicate

 on the website’s forum, which is moderated by Anglin and accessible only with a special “dark

 web” tor browser. On Anglin’s orders and under his continuing supervision, Stormers have

 formed local chapters, called “Stormer Book Clubs,” as part of Anglin’s plan to “build an

 invisible empire.” Anglin uses the Daily Stormer forum to actively monitor the Book Clubs and

 uses the website to issue orders on how to organize. “Official Operations” of Stormer Book

 Clubs include firearms training, organizing for protests, and being ready to respond to

 “challenges” issued by Anglin. Daily Stormer established “meet ups” and chat rooms that co-

 conspirators and attendees used throughout the August 11 and 12 weekend to coordinate their

 violence. The Daily Stormer released its own poster promoting the “rally” that read, “UNITE

 THE RIGHT/ Join Azzmador and the Daily Stormer to end Jewish influence in America,”

 accompanied by a Nazi-like figure wielding a hammer, ready to smash a Jewish star. For months

 before the Unite the Right events on August 11 and 12, Anglin organized his followers to attend

 and prepared them to commit racially motivated violent acts in Charlottesville. Although Anglin

 did not attend the rally himself because he is currently in hiding in order to evade service in

 connection with a separate lawsuit relating to events in Whitefish, Montana, Anglin orchestrated

 the movements of Daily Stormer followers and incited them to violence on a live feed

 contemporaneously with the events as they occurred on August 11 and 12 in Charlottesville.

        27.     Defendant Moonbase Holdings, LLC is an Ohio, for-profit, limited-liability

 corporation registered by Defendant Anglin that operates the Daily Stormer’s website.


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 Defendant Anglin has encouraged readers to financially support the Daily Stormer by sending

 donations using bitcoin, checks, and credit cards, noting that “it won’t say ‘Daily Stormer’ on

 your credit card bill, but will instead say ‘Moonbase Holdings,’ which either sounds like a hobby

 shop or a multi-level marketing scheme run by reptoids. Anyway, it looks innocuous on your

 statement.”

        28.     Defendant Robert "Azzmador" Ray, a resident of Texas, is a neo-Nazi and a

 writer for Daily Stormer’s website. He has held himself out as a representative of Daily Stormer,

 and served as an agent of Daily Stormer in organizing the Unite the Right events. He is the

 leader of the “Dallas Fort Worth Stormer Book Club,” which is one of many local Daily Stormer

 groups across the country. In his articles published on Daily Stormer’s website, Ray encouraged

 extremists to attend the events in Charlottesville on August 11 and 12 and incited them to

 violence. Ray attended the “rally” himself and had a planning meeting with certain other

 Defendants in Charlottesville on August 11.

        29.     Defendant Nathan Damigo, a resident of California, is a white nationalist and the

 founder of a white supremacist organization, Defendant Identity Evropa. Defendant Spencer has

 stated that Damigo and his group, Identity Evropa, took the lead in organizing white supremacist

 participation among people from outside Charlottesville in connection with the events on August

 11 and 12.

        30.     Defendant Eli Mosley, who is a resident of Pennsylvania, is a white supremacist

 and the current leader of Identity Evropa. He has described himself as “command soldier major

 of the ‘alt-right’” and as the organizer of the Unite the Right “rally.” On certain social media

 networks, Mosley has used the handles @NotEliMosley and @ThatEliMosley. Mosley was one

 of the key figures who planned and led the events of August 11 and 12.



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        31.     Defendant Identity Evropa is an unincorporated association pursuant to Virginia

 Code § 8.01-15. Members of Identity Evropa voluntarily joined for the common purpose of

 promoting a “white American identity.” It was founded in March 2016 by Defendant Damigo

 and its current president is Defendant Mosley. The group adopted and popularized the white

 supremacist slogan, “You will not replace us” that Defendants and co-conspirators chanted as

 they marched on August 11 and 12.

        32.     Defendant Matthew Heimbach, a resident of Indiana, is the chairman of

 Defendant Traditionalist Worker Party ("TWP"). In 2013, Heimbach and Defendant Matthew

 Parrott founded the neo-Nazi Traditionalist Youth Network, a white nationalist group that

 promotes a racist interpretation of Christianity. Alongside Defendant National Socialist

 Movement (“NSM”) leader Jeff Schoep, Heimbach co-chairs the Nationalist Front, an umbrella

 organization of approximately twenty white supremacist organizations, including racist skinhead

 crews, Klan groups, and neo-Nazi groups. He has said, “Of course we look up to men like Adolf

 Hitler . . . as inspirations for what we can achieve.” Heimbach organized and led marchers from

 TWP on August 12.

        33.     Defendant Matthew Parrott, a resident of Indiana, is the co-founder of the

 Traditionalist Youth Network along with his stepson-in-law, Defendant Heimbach. He is

 currently the Chief Information Officer and Director of Defendant TWP. On August 12, Parrott

 refused to leave Emancipation Park after a state of emergency was declared and was arrested by

 the police for failing to disperse. Parrott wrote an account of his experiences at the Unite the

 Right “rally,” in “Catcher in the Reich: My Account of my Experiences in Charlottesville.” In it,

 he wrote that Defendants TWP, League of the South, NSM, and other Nationalist Front groups

 joined together to “help create two shield walls” for “the fight.”



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        34.     Defendant Traditionalist Worker Party (“TWP”) is an unincorporated association

 pursuant to Virginia Code § 8.01-15, and a national political party committee registered with the

 Federal Election Commission since 2015. Members of TWP voluntarily joined for the common

 purpose of promoting anti-Semitism. According to Defendant Heimbach, the TWP has three

 dozen active chapters and an estimated 500 members across the country. The TWP was created

 by Defendants Heimbach and Parrott. The TWP has said: “Trust nobody who fails to name the

 Jew, who fails to explicitly and consistently oppose the Jew, and who preaches cleverness or

 nuance on the JQ [Jewish Question].” Members of the TWP prompted, attended, and fully

 participated in the events in Charlottesville on August 11 and 12, including by engaging in

 violence.

        35.     Defendant Michael Hill, a resident of Alabama, is the co-founder and President of

 the League of the South, a white nationalist organization. In 2014, Hill and the League of the

 South announced the formation of an armed, paramilitary unit dubbed “the Indomitables,” tasked

 with advancing southern secession by any means necessary. In May 2015, Hill published an

 article in which he asserted: “We Southern nationalists do not want a race war (or any sort of

 war). But if one is forced on us, we’ll participate. . . . Southern whites are geared up and armed

 to the teeth. . . . So if negroes think a “race war” in modern America would be to their

 advantage, they had better prepare themselves for a very rude awakening.” Hill, whose name

 was featured on a promotional poster for the “rally,” encouraged League of the South followers

 to attend by urging them not to “miss out on the fun” in dealing with counter-protestors—their

 purported enemies. On August 12, League of the South, led by Hill, marched through

 Charlottesville after Vanguard America. Like Vanguard America, they marched with

 coordinated shields and flags and carried rods and other weapons.



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         36.      Defendant Michael Tubbs, a resident of Florida, is the “Chief of Staff” of

 Defendant League of the South. Tubbs is captured on a video from August 12 ordering League

 of the South to attack by yelling “charge!” After receiving this command, the group streamed

 past him to attack counter-protestors. Defendant Hill later boasted that “Mr. Tubbs was

 everywhere the chaos was.” Tubbs previously served a four-year prison sentence for planning to

 bomb Jewish- and black-owned businesses in Florida.

         37.      Defendant League of the South, a privately held company located in Alabama, is

 a white supremacist group that advocates Southern secession. Prior to the events on August 11

 and 12, Defendant Hill posted in the League’s Facebook group that he wanted “no fewer than

 150 League warriors, dressed and ready for action, in Charlottesville, Virginia, on 12 August.”

 Numerous members of the League of the South participated in Saturday’s violent events together

 with co-defendants.

         38.      Defendant Jeff Schoep, a resident of Michigan, is the leader of Defendant NSM,

 the largest neo-Nazi coalition in the United States. On April 22, 2016, SchoepTWP, the Aryan

 Terror Brigade, and many regional factions of the Ku Klux Klan. Schoep has said that if he

 could meet Adolf Hitler today, he would say, “Thank you for your sacrifice, and I hope we have

 honored you in some small way by carrying on the fight.” Schoep participated actively in the

 events of August 11 and 12 and tweeted afterwards that, “It was an Honor to stand with U all in

 C’Ville this weekend. NSM, NF, TWP, LOS, VA, ECK, CHS, and the rest, true warriors!” 1

         39.      Defendant National Socialist Movement (“NSM”) is an unincorporated

 association pursuant to Virginia Code § 8.01-15. Members of NSM voluntarily joined for the

 common purpose of promoting a “greater America” that would deny citizenship to Jews, non-


 1
  This tweet refers to Defendants Nationalist Front, TWP, League of the South, Vanguard America, and East Coast
 Knights.

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 whites, and LGBT persons. Located in Michigan, NSM is paramilitary in structure; its members

 claim to be lieutenants, sergeants, or other military ranks. Defendant Schoep, the head of NSM,

 has served as its “Commander” since 1994. Chapters of the groups are termed “units.” NSM

 maintains a business through NSM88 Records LLC selling neo-Nazi flags, swastikas, gear, etc.

 Members of NSM participated in the violence that took place in Charlottesville on August 11

 and 12.

           40.   Defendant Nationalist Front is an unincorporated association pursuant to Virginia

 Code § 8.01-15, whose members voluntarily joined for the common purpose of promoting white

 nationalism and white supremacy. Formerly known as the Aryan National Alliance, Nationalist

 Front is an umbrella organization consisting of white supremacist and white nationalist groups,

 including neo-Nazi and Klan groups. The Nationalist Front is led by Defendants Schoep,

 Heimbach, Hopper, and Hill. The Nationalist Front was conceived to be “the thread that would

 unite white supremacist and white nationalist circles.” Various members of the Nationalist Front

 engaged in acts of violence and intimidated residents of Charlottesville on August 11 and 12.

           41.   Defendant Augustus Sol Invictus, formerly Austin Mitchell Gillespie, a resident

 of Florida, is a white nationalist, white supremacist and a member of Defendant Fraternal Order

 of Alt-Knights ("FOAK"), the “military wing” of The Proud Boys, a group described as a “‘pro-

 Western fraternal organization’ for men who ‘refuse to apologize for creating the modern

 world.’” He has said that a violent, second Civil War is necessary in order to preserve “Western

 civilization.” On August 14, 2017, Invictus announced his candidacy as a Republican for the

 2018 Senate election in Florida. Invictus, whose name was featured on a promotional poster for

 the “rally,” drafted the “Charlottesville statement” along with Spencer and others, then

 participated in the torchlit rally on August 11 with co-Defendants.



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        42.     Defendant Fraternal Order of the Alt-Knights (“FOAK”) is an unincorporated

 association pursuant to Virginia Code § 8.01-15 and is self-described as the “tactical defensive

 arm” of Proud Boys, formed to focus on “street activism, preparation, defense, and

 confrontation.” Defendant Invictus is second in command at FOAK and FOAK attended the

 “rally” in part to provide security to him.

        43.     Defendant Michael “Enoch” Peinovich, a resident of New York, is the founder of

 the blog and website The Right Stuff and a co-host of the Daily Shoah podcast. On social media,

 Peinovich has at various times used the handles @NotMikeEnoch and @mikeenochsback.

 Peinovich frequently appears at events alongside Defendant Spencer. Peinovich was featured on

 a promotional poster for the “rally.” On August 12, in the immediate aftermath of the car attack,

 Defendants Spencer and Peinovich spoke to their followers at McIntire Park.

        44.     Defendant Loyal White Knights of the Ku Klux Klan (“Loyal White Knights”) is

 an unincorporated association pursuant to Virginia Code § 8.01-15. Members of Loyal White

 Knights voluntarily joined for the common purpose of promoting white nationalism and white

 supremacy. Based in Pelham, North Carolina, the association only accepts “native-born white

 American Citizen[s]” as members. Following the events in Charlottesville on August 11 and 12,

 the Loyal White Knights changed their outgoing voicemail message to say: “Nothing makes us

 more proud at the KKK than when we see white patriots such as James Fields, Jr., age 20, taking

 his car and running over nine communist anti-fascist, killing one nigger-lover named Heather

 Heyer. James Fields hail victory. It’s men like you that have made the great white race strong

 and will be strong again.”

        45.     Defendant East Coast Knights of the Ku Klux Klan a/k/a East Coast Knights of

 the True Invisible Empire (“East Coast Knights”) is an unincorporated association pursuant to



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 Virginia Code § 8.01-15. Members of East Coast Knights voluntarily joined for the common

 purpose of promoting white nationalism and white supremacy. It is active in several states, and

 has a subdivision or “klavern” in the state of Maryland. Tom Larson is the imperial wizard of

 the East Coast Knights of the True Invisible Empire. The East Coast Knights, using the handles

 @tightrope33_6 and @Tightrope336, frequently tweet racist images and comments; on

 September 19, 2017, it tweeted pictures of burning crosses, labeled an image of lynched black

 men as “Alabama wind chimes,” and tweeted a cartoon of a Klansman using two black men

 hung from trees as a hammock in which to read the newspaper and drink an iced tea. The East

 Coast Knights was a key participant in the July 8 Klan rally, and conspired with the Nationalist

 Front and other Defendants to organize and participate in the violent events of August 12.

                                               FACTS

        46.     Defendants are white supremacist, white nationalist, and neo-Nazi organizations

 and individuals, who have as part of their mission to engage in racial, religious, and ethnically

 motivated violence, threats, intimidation and harassment. The events in Charlottesville are part

 of Defendants’ recent concerted efforts to move from the shadows of anonymous, disassociated,

 online chatrooms and into a more open, organized, physical presence in our parks and on our

 streets. Defendants are co-conspirators with each other and others unnamed.




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 I. Defendants And Unnamed Co-Conspirators Conspired To Commit Acts Of Violence,
    Intimidation, And Harassment Against The Citizens Of Charlottesville, Virginia

 A.     Defendants Targeted Charlottesville in the Months Prior August 11 and 12 (“the
        Summer of Hate”)

                When the Jews took over our society and turned it into a kiked-out
                living hell, they marked their achievement by declaring a
                “Summer of Love.” . . . They took everything away from us. That
                age is ending now. We are taking back our birthright. This
                summer, a Black Sun will pass over America. . . . I am declaring
                the summer of 2017 the Summer of Hate.

                                                           Defendant Andrew Anglin

        47.     In furtherance of their above-stated goal, Defendants plotted to target

 Charlottesville, Virginia as part of what they called the “Summer of Hate.”

        48.     Defendants selected Charlottesville because, among other things, the City was

 engulfed at the time in a debate over the statue of General Robert E. Lee in a small city park. In

 February 2017, the Charlottesville City Council voted to remove the Lee statue and, in June

 2017, it voted to rename the park in which it stood from Lee Park to Emancipation Park.

        49.     Defendants used the removal of the Lee statue as a rallying cry for their followers,

 seeking to preserve its place in the park, and use the debate about the statue as a means to stir up

 violence and harass, threaten, and intimidate the residents of Charlottesville.

        50.     For example, Defendants Kessler and Richard Spencer invited white supremacist

 groups to visit and hold events around the statue with the intent of intimidating nonwhite and

 Jewish individuals and their allies.

        51.     On May 13, 2017, hundreds of neo-Nazis and white supremacists carried lit

 torches and surrounded the statue of Robert E. Lee, in an event organized and planned by, among

 others, Defendants Kessler, Spencer, Damigo, Peinovich, Heimbach, Identity Evropa, Vanguard

 America, TWP, and League of the South. Defendants and participants carried altright.com-


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 branded signs 2 reading “we will not be replaced.” They chanted “you will not replace us” and

 “blood and soil.” “Blood and soil” is a translation of “Blut und Boden,” a German nationalist

 philosophy that lay at the heart of Nazi policies. The slogan expresses the idealization of a

 racially defined national body (“blood”) unified with a settlement area (“soil”). It was

 inextricably linked with the contemporary German idea of Lebensraum—the belief that the

 German people need to reclaim historically German areas of Eastern Europe into which they

 could expand—which was the driving ideology behind Hitler’s invasion of neighboring countries

 and the mass murder of their citizens.

        52.     The May 13 event was planned and intended to intimidate, threaten, and harass

 Charlottesville residents on the basis of race, religion, and ethnicity. Defendant Kessler said he

 hoped that the May event would be a “fantastic first event” in a “cultural ‘civil war.’”

 Defendants’ avowed goal was to promote and create an atmosphere of religious and racial

 subordination on the streets of Charlottesville, ideally through the infliction of violence or

 emotional distress.

        53.     At a lunch before the event, Spencer—sharing a podium with Defendants

 Damigo, Peinovich, and Kessler, as well as co-conspirator Sam Dickson—explained: “What

 brings us together is that we are white, we are a people. We will not be replaced.”

        54.     Defendants acknowledged the success of their careful, deliberate, and months-

 long planning. The Daily Stormer’s website reported that “[t]he 200+ honorable whites marched

 to the base of the statue as they carried torches reminiscent of the 3rd Reich.” In an essay about

 the May 3 event, entitled “Why We Fight,” Vanguard America explained:

                       “The purpose of the gathering was not simply over some
                metal sculpture atop a pedestal in a small Southern City. It was

 2
        Altright.com is Defendant Richard Spencer’s website.

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                   about defending the images of white history, white heroes, and
                   white America. . . .

                           [T]he greatest spectacle of the event came as we lit our
                   torches for the night march. As we approached Lee Park for the
                   last time, our footsteps shook the whole city. . . . This movement
                   must begin as a spiritual movement. . . . To quote a wise /pol/lak,
                   “If you want to gas the Jews, you must first gas the Jew within
                   yourself.”

                           After a few words from Spencer and Dickson, we blew
                   out our torches, our spiritual cups filled for perhaps the first time
                   in all of our lives and once again shouted our deafening chants,
                   shaking the entire city with our might.

                          There will be many more of these events. This march on
                   Charlottesville was just the beginning of the inevitable
                   Revolution of our people.

                            Hail Victory!

          55.      This May event would later be referred to by conspirators as “Charlottesville 1.0."

          56.      Capitalizing on the perceived success of the May event, and motivated by the

 same desire to achieve racial and religious subordination of city residents, Defendants began

 planning for additional events in Charlottesville. On May 30, Kessler submitted an application

 for a permit to hold the Unite the Right “rally” on the weekend of August 11 and 12.

          57.      In June, Kessler invited Defendants and others to come to Charlottesville for a

 “Proud Boys” event, which was designed to promote violence and intimidate minority residents

 in advance of the Unite the Right "rally." 3 As one of the Proud Boys in attendance noted, the

 group wanted to bait protestors because “a lot of us kinda like to see them bleed.” Another



 3
  As part of the weekend, Kessler was beaten in an alley in Charlottesville by Proud Boys members until he could
 name five breakfast cereals. This “cereal beat-in” is the “second degree” of initiation into the Proud Boys. The first
 degree is a declaration of allegiance to the Proud Boys. The second degree is the cereal beat-in and a renouncement
 of masturbation (although Proud Boys “Pope” Dante Nero has framed the rule as requiring that a man should only
 ejaculate within a yard of a woman). The third degree involves getting a tattoo and the fourth degree requires a
 “major fight for the cause,” meaning you “kick the crap out of antifa” and possibly get arrested.

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 Proud Boy reminded others: “This of course is just the beginning. There are also bigger [ ]

 events planned for . . . Charlottesville on August 12.”

        58.     On July 8, 2017, a third white supremacist event was held in Charlottesville, this

 time by Defendant Loyal White Knights. Nearly fifty Klansmen marched through the streets

 shouting “white power,” and carrying signs that read: “Jews are Satan’s children.” Some wore

 white Klan robes, and many carried guns.

        59.     Kessler attended and live-streamed the Klan march on Twitter. He shared a tweet

 with his followers: “#UniteTheRight against these shitlibs in Charlottesville on August 12th is

 going to be so much fun. You’ve got a month to be there.”

 B.     Defendants Planned and Coordinated a Scheme to Incite Violence, Threaten,
        Intimidate and Harass Charlottesville Residents on August 11 and 12

                The age of ultraviolence is coming. I don’t know when, but I do
                know that most of you will live to see it.

                There is rapidly approaching a time when in every white Western
                city, corpses will be stacked in the streets as high as men can
                stack them.

                And you are either going to be stacking or getting stacked . . .

                There will be leaders. You need to be prepared to recognize them
                for who they are, and you need to be prepared to do whatever
                they tell you to do, exactly as they tell you to do it . . .

                                                           Defendant Andrew Anglin

        60.     Defendants and their co-conspirators conspired to incite violence and to threaten,

 intimidate, and harass the civilian population of Charlottesville, in particular, individuals of a

 racial, ethnic or religious minority, and to commit other unlawful acts as described herein. For

 weeks, Defendants acted on the basis of racial, religious, and/or ethnic animus, and with the

 intention to deny Jewish people and people of color, as well as people promoting rights for

 Jewish people and people of color, equal protection and other rights that they are guaranteed
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 under state and federal law. Defendants' conspiracy ultimately achieved its stated goals and did

 in fact repeatedly, systematically, and unmistakably violate the rights of religious and racial

 minorities in Charlottesville.

        61.     The application for the Unite the Right permit submitted by Defendant Kessler

 claimed that the event would be a protest of the removal of the Lee monument, but Defendants

 also intended that the rally would instill fear in Charlottesville’s minority population and cause

 violence. They wanted to use the events of the weekend to intimidate the broader civilian

 population and recruit more followers to Defendants’ groups.

        62.     An article by Defendants Anglin and Ray published on the Daily Stormer’s

 website on August 8 explained that the purpose of the “rally” had shifted from being “in support

 of the Lee Monument, which the Jew Mayor and his Negroid Deputy have marked for

 destruction” to “something much bigger than that . . . . It is now an historic rally, which will

 serve as a rallying point and battle cry for the rising Alt-Right movement.”

        63.     Defendants Kessler, Spencer, Anglin, Ray, Cantwell, Mosley, Damigo, Invictus,

 Peinovich, Heimbach, Parrott, Hill, Tubbs, Fields, and Schoep, on behalf of themselves and the

 groups to which they belong, and Defendants Identity Evropa, FOAK, Vanguard America, TWP,

 League of the South, NSM, Nationalist Front, Loyal White Knights, and East Coast Knights,

 along with Daily Stormer (Moonbase Holdings), through their leadership and members, all

 agreed and coordinated with and among each other to plan, organize, promote, and commit the

 unlawful acts that injured Plaintiffs and countless others in Charlottesville. They also

 coordinated with numerous unnamed and named co-conspirators.

        64.     Defendant Spencer and co-conspirator Evan McLaren, a member of Defendant

 Identity Evropa, met in person at the Trump Hotel in Washington, D.C. to organize and direct the



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 “rally” in Charlottesville, with the purpose and result of committing acts of violence,

 intimidation, and harassment against the citizens of Charlottesville. Defendants Cantwell and

 Kessler met in Charlottesville on August 9 to plan and direct the unlawful acts of violence,

 intimidation, and denial of equal protection of law. Defendants Ray, Cantwell, and Mosley and

 co-conspirator David Duke attended another in-person meeting on August 11 to plan and direct

 the unlawful acts of violence, intimidation, and the denial of equal protection of law. Defendants

 Nationalist Front, NSM, TWP, League of the South, Vanguard America, East Coast Knights, and

 “other allies,” coordinated their attendance as a “joint operation” in advance of August 12 to

 plan, direct, and prepare for unlawful acts of violence, intimidation, harassment and denial of

 equal protection to Charlottesville citizens.

        65.     Defendants also frequently coordinated the illegal acts planned for the Unite the

 Right event online. They made use of websites, social media (including Twitter, Facebook,

 4chan and 8chan), chat rooms, radio, videos and podcasts to communicate with each other, and

 with their co-conspirators, followers and other attendees and did so to plan the intended acts of

 violence, intimidation, and the denial to citizens of the equal protection of laws.

        66.     For years, Defendants and others unnamed have used the Internet to, in Defendant

 Anglin’s terms, “solidify a stable and self-sustaining counter-culture.” Use of the Internet is part

 of the ways, manner and means of how Defendants’ conspiracy operated and operates.

        67.     Defendants and co-conspirators coordinated by posting articles on their own

 websites, and by using social media to send and share messages for the “rally” and to encourage

 attendance and the commission of illegal acts. They interviewed one another about the plans for

 the “rally,” and shared those messages on podcasts or other video-streaming services. They

 agreed to mobilize their respective members and followers to attend and be violent and suppress



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 the equal rights of Charlottesville citizens. According to Spencer, for example: “Damigo and

 his group [Identity Evropa] took the lead to organize white supremacist participation among

 people from outside Charlottesville.”

          68.      One Internet tool Defendants used extensively to plan and direct illegal acts was

 the chat platform Discord. Originally developed as a messaging platform for group “game play,”

 Discord is set up as a series of private, invite-only servers, each providing a space for real-time

 group discussion. Each server is organized into “channels,” indicated by a “#” before the name.

 Participants in the chat use “handles” or nicknames to identify themselves. Participants can

 request to be “tagged” as a member of a group.

          69.      A "Charlottesville 2.0" server was established on Discord in June 2017

 (hereinafter, “Discord”). This server was used to direct and plan unlawful acts of violence,

 intimidation, and denial of equal protection of law at the Unite the Right "rally." One user

 explained that Discord was “for closed, top super secret communications intended for the elite

 inner circle of the alt-right.” 4 Defendants used Discord as a tool to promote, coordinate, and

 organize the Unite the Right “rally,” and as a means to communicate and coordinate violent and

 illegal activities “in secret” during the actual events of that weekend.

          70.      Discord was moderated, reviewed, directed, and managed by Defendants Kessler

 and Mosley, along with their co-conspirators. As moderators of the group, they were able to

 view all of the posts, invite or reject participants, and delete messages they did not condone. The

 group was “invite only” and not open to the public.




 4
  Another user explained, “unless Jason or Eli made this server public without telling me. . . this isn’t a public
 server. It’s invite only through our trusted, pre-vetted alt-right servers. Not sure who told you it’s public."

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            71.   Individual Defendants, including Heimbach, Parrott, Cantwell, and Ray, were all

 participants on Discord, and participated in the direction, planning, and inciting of unlawful and

 violent acts through Discord.

            72.   These Defendants and their co-conspirators used Discord for regular “leadership”

 meetings through which they shared information and plans. Defendants also used Discord to

 distribute what they called “Orders” to co-conspirators and attendees. One document posted by

 Mosley was entitled “General Orders” for “Operation Unite the Right Charlottesville 2.0.”

            73.   There were at least 43 channels set up on Discord as a means of sharing specific

 information. Those channels included:

            #announcements                 #news                     #ma_ct_ri
            #dixie-lyrics                  #safety_planning          #vt_nh_me
            #mod_help                      #alex_jones_chat          #great_lakes_region
            #confirmed_participants        #pictures_and_video       #midwest_region
            #shuttle_service_information   #beltway_bigots           #ky_tn
            #code_of_conduct               #voice_chat               #tx_ok
            #self_promotion                #friday-night             #florida
            #flags_banners_signs           #sunday-night             #georgia
            #promotion_and_cyberstrike     #chants-                  #carolinas
            #gear_and_attire               #virginia_laws            #california_pacific_nw
            #antifa_watch                  #lodging                  #carpool_available
            #demonstration_tactics         #lodging_wanted           #ny_nj
            #sponsors_only                 #lodging_available        #pennsylvania
            #i_need_a_sponsor              #carpool_wanted           #dc_va_md

            74.   They also had a channel called #questions_for_coordinators, where participants

 could ask questions of the organizers.

            75.   With the permission of a moderator, individuals could be “tagged” as members of

 certain organizations. Defendants Vanguard America, Identity Evropa, TWP, League of the

 South, and Daily Stormer (including its “book club” chapters), all had channels on Discord that

 allowed their tagged members to participate in private group communications in advance of the

 “rally.”

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        76.      Defendants enlisted other co-conspirators to coordinate and organize the “rally,”

 through Discord and other means. For example, one individual, using the Discord handle

 “Tyrone” (hereinafter Tyrone), agreed with Kessler that he would coordinate transportation for

 attendees on August 12. Others were tasked with helping Kessler and Mosley moderate the

 Discord server. Another individual, using the Discord handle “Caerulus Rex,” was the

 coordinator between various “security details” that were established by Defendants and their co-

 conspirators.

        77.      Promotional materials, often promoting and inciting violence, were added to

 Discord in order to be shared and utilized more broadly.

        78.      Defendants also used Discord to coordinate how they would communicate on

 other social media. For example, they told followers to use #UniteTheRight and #Charlottesville

 on Twitter, so that they and their followers could closely communicate during the weekend of the

 “rally.” They shared that hashtag through Discord.

        79.      Defendants Anglin and Ray likewise established “meet ups” and chat rooms

 through the Daily Stormer’s website that co-conspirators and attendees were told to use

 throughout the weekend to coordinate their actions.

        80.      A “Charlottesville Statement” was distributed by Defendant Spencer, setting out

 the philosophy and ideology underlying the “rally.” He was aided in drafting his manifesto by

 Defendant Invictus, co-conspirator McLaren, and others. Among other things, the

 Charlottesville Statement holds that “‘Judeo-Christian values’ might be a quaint political slogan,

 but it is a distortion of the historical and metaphysical reality of both Jews and Europeans” and

 that “Nations must secure their existence and uniqueness and promote their own development

 and flourishing. . . . Racially or ethnically defined states are legitimate and necessary.”



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 C.     Defendants Promoted Attendance, Violence, and Imagery Designed to Threaten,
        Intimidate and Harass

                       [T]his will clearly be an earth-shaking day that will go
                down in the history books . . . our time has come.

                        August 12, 2017 is going to be a shot heard around the
                world . . . . There will be before Charlottesville 2.0, and there
                will be after Charlottesville 2.0. there is no way to exaggerate the
                significance of this. We can make all the noise on the internet
                that we want, and this is great, but our real power will come only
                from numbers in the streets. . . .

                       [T]hanks to the magnitude of this event, I truly believe—
                more than I ever did before—that we will eventually win this
                struggle and secure the existence of our people and future for
                white children. It is our destiny. Next stop: Charlottesville,
                VA. Final stop: Auschwitz. See ya there, faggots.

                                                                        Daily Stormer

        81.     Anglin, through Daily Stormer, told followers: “We are angry . . . There is a [sic]

 atavistic rage in us, deep in us, that is ready to boil over. There is a craving to return to an age

 of violence. We want a war.” He advised followers that “the hardcore message is what sells”

 and told them to “[b]e ready to die for [the fight].”

        82.     On Spencer’s website, altright.com, one article wrote of the upcoming August

 “rally”: “Our ideas dominate the internet . . . Now it’s time to dominate the streets. . . . You

 might think it’s just a rally, but really, it’s so much more . . . . We are telling the anti-White

 establishment and it’s [sic] attack dogs that we are not going to give another inch . . . And now

 we have come to the tipping point.”

        83.     Defendant Ray exhorted: “We are stepping off the Internet in a big way. . . . We

 have been organizing on the Internet. And so now they are coming out. We have greatly

 outnumbered the anti-white, anti-American filth. At some point we will have enough power that




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 we will clear them from the streets forever . . . you ain’t seen nothing yet.” 5 In another

 interview, Defendant Ray also stated that Defendants’ goal was to “stop” the “usurpation” of

 “our country by a foreign tribe called the Jews.”

         84.      Defendant Mosley tweeted: “We are [] going to Charlottesville. This is our

 country and it is our right that me and thousands fought for already . . . Our birthright will be

 ashes & they’ll have to pry it from our cold dead hands if they want it. They will not replace us

 without a fight.”

         85.      In one promotion created by Defendant TWP and distributed on Discord, the

 poster stated: “This is not an attack on your heritage this is an attack on your racial existence.

 FIGHT BACK OR DIE.”

         86.      The Daily Stormer released its own poster, which was later shared by Defendant

 Vanguard America:




 5
  Vice released a 22-minute documentary following Defendants throughout the day. The video can be found at
 https://news.vice.com/story/vice-news-tonight-full-episode-charlottesville-race-and-terror.

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        87.     Using Daily Stormer’s website, Anglin and Ray commanded the Daily Stormer

 community to attend (“You must make it there!”). They told their members: “[w]e need to do

 everything we can to get as many people to attend this rally as possible. . . . There is a rising

 nationalist movement in American and it is not going away. Having thousands of nationalists

 come out for this rally will put the fear of god into the hearts and minds of our enemies.” A

 writer on Spencer’s website, altright.com, enthused that Daily Stormer was “going to bring a lot

 of young new cadres to the rally,” including Identity Evropa.

        88.     Anglin also urged his followers: “We are now taking these [Stormer Book Clubs]

 to the next level . . . We are going to have challenges (which will include getting you in fit and


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 fighting shape and learning useful masculine skills) . . . . We are going to build an invisible

 empire. This has all been worked out in my mind a long time ago, and this summer, the Summer

 of the Black Sun, is when we are going to bring it all together.”

        89.       Defendant Hill encouraged League of the South followers to attend by urging

 them not to “miss out of the fun” in dealing with their purported enemies” Defendant East Coast

 Knights exhorted individuals to attend: “We will be there! Join us!”

        90.       Another co-conspirator on Discord posted an image of a raised fist holding a

 dagger by its blade, dripping blood, over the words “FIGHT UNTIL THE LAST DROP.”




        91.       Defendants' intention to engage in violence, to ensure that others engaged in

 violence, and to orchestrate and direct that violence against racial and religious minorities was

 open and explicit. For example, on a podcast run by Defendant Peinovitch, the Daily Shoah, a

 co-conspirator, discussing the “rally,” asked: “Now come on, beating up the wrong negro . . . is

 that even a possibility? Beat up the wrong nigger . . .” A member of Vanguard America blithely

 asked on Discord, “When can we gas the reprobates. . .” Tyrone, a co-conspirator, wrote: “Most

 efficient is how you get six million Jews in a Cadillac. 3 in the front 3 in the rear 5,999,994 in

 the ash tray.”



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        92.     On Discord, moderated and controlled by Defendants Kessler and Mosley, there

 were countless exhortations to violence, including:

                    ● “I’m ready to crack skulls.”

                    ●    “If you don’t have a flame thrower you’re wrong,”

                    ● “It’s going to get wild. Bring your boots.”

                    ●   “Studies show 999/1000 niggers and feminists fuck right off when faced
                        with pepper spray.”

                    ● “Bringing women to a protest/rally where we expect violence is fucking
                      retarded . . . even if you aren’t expecting violence you should prepare for
                      it.”

                    ● “Let there be no mistake – these two side have irreconciable [sic]
                      differences that will never reach compromise – the only question is the
                      level of conflict to decide the victor.”

                    ● “You have a week, bros. Best spend it having four or five of your friends
                      simulate jumping you. Go light, don’t get injured before the event, and
                      focus on blocking and pushing back in ways that don’t look like assault.”

                    ● “Let’s make this channel great again. The Carolinas (kind of) started the
                      Revolutionary War and the Civil War, so why not add the Race War /
                      Second Civil War to the list?”

        93.     Defendants took no steps to prevent any violence. To the contrary, consistent

 with their conspiracy to encourage and enable violence, Defendants and co-conspirators

 reinforced a false narrative of a larger—necessarily violent—racial and religious war in which

 Unite the Right events were a critical moment. This strategy was intended to—and foreseeably

 resulted in violence directed at the racial and religious minorities.

        94.     For example, Defendant Hill tweeted on July 24: “If you want to defend the

 South and Western civilization from the Jew and his dark-skinned allies, be at Charlottesville on

 12 August.”




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         95.    Defendant Mosley published “General Orders” for the “rally” which divided

 attendees into “Friendlies” and “Enemies/Counter Protesters.” Individuals opposed to the ideas

 advanced by the Unite the Right “rally” were described as “hostile.”

         96.    The General Orders further instructed co-conspirators and attendees that if they

 ended up losing their permit to gather in the park then they may “have to initiate plan red or have

 to take the ground by force with plan yellow.” Plan Red was described as “incredibly

 dangerous” and called for meeting early at a rally point and marching to the park. The General

 Orders also promised that there would be “security forces . . . to reduce the threat” presented by

 “hostiles.”

         97.    Co-conspirators on Discord incited attendees to bring weapons and engage in

 violence. This incitement was known to and promoted by Defendants.

         98.    Tyrone posted a quote from Hitler’s close associate and “Reich Plenipotentiary

 for Total War,” Paul Joseph Goebbels, on Discord: “Whoever can conquer the street will one day

 conquer the state, for every form of power politics and any dictatorship-run state has its roots in

 the street.”

         99.    Defendants expressly acknowledged that their false narrative of “self-defense”

 was merely a pretext for violence. Tyrone, for example, had the following exchange on Discord:

                Tyrone: “What if we are sociopathic and want [antifa] to show up, for . . . self
                defense purposes?”

                Americana – MD: If you’re concerned about antifa showing up and being violent
                I present you 2 valid options. 1. Don’t attend [emoji of a woman] or 2. Be better
                at violence than they are.

                         Tyrone: It’s not just about you (collective you not personal) violence like
                this is a team game.

         He told others: “The best defense is a good offense, my grandpappy taught me.”



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        100.    One Discord participant told people to “purchase self defense insurance,” while

 another quipped that the ability to make out a self-defense claim “[d]epends how much of a jew

 your lawyer is.”

        101.    Using Discord and other mediums, Defendants gave orders to each other, co-

 conspirators, and followers in advance of the Unite the Right weekend, including what weapons

 to bring, what protective armor to wear, and instructions for uniforms. In particular, they

 advised other participants to bring firearms or improvised weapons. They engaged in these acts

 with the intention that they and their co-conspirators would in fact engage in violence and

 harassment against racial and religious minorities and threaten the broader Charlottesville

 population.

        102.    Defendant Cantwell expressly “encourage[d]” Radical Agenda followers “to carry

 a concealed firearm.”

        103.    Defendants and co-conspirators posted photos of themselves posing with

 automatic weapons and tactical gear, and boasted about the weapons they were bringing.

 Tyrone, for example, bragged that he would be bringing “Mosin-Nagants with bayonets

 attached,” referring to military rifles used by Russian and Soviet armed forces, which “will shoot

 clean through a crowd at least four deep.” Tim “Baked Alaska” Gionet, a co-conspirator and

 attendee of the events of August 11 and 12, posted the following on Twitter:




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         104.    Defendant Ray wrote on Discord: “Well I also come barehanded and barefisted,

 bc officers don’t duck lol. But my guys will be ready with lots of nifty equipment.”

         105.    One co-conspirator on Discord posted a fake advertisement for a product that

 looked like pepper spray called “Nig-Away”—“a no-fuss, no-muss ‘nigger-killer,’” promised to

 “kill[] on contact . . . dissolv[ing] all tissue, leav[ing] only bone matter” in order to “rid the area

 of niggers.” He commented beneath the photo, “stock up now.”




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        Discord was rife with discussions by co-conspirators of weapons and the use of everyday

 objects to inflict harm:
                ●
                    “I’m conceal carrying.”

                ● “[A] real man knows how to make a shield a deadly weapon.”

                ● “[K]nives and guns are more legal than blunt weapons or batons, but its [sic]
                  better to only carry what would only be perceived as a defensive tool. I figure
                  knives would cause the police more alarm over a can of pepper spray or a
                  rugged and abrasive shield.”

                ● “[G]et standard OC spray. I personally use Fox Labs.”

                ● “[R]emember that newspapers can be your greatest ally / toss a few pennies in
                  there, roll it up and fold it and bam.”

                ● “[A]void batons . . . just get hardwood dowel (that fits in your hand) from a
                  store and cut it to size.”

                ● “If you get PVC get schedule 80 for thicker thumping.”

                ● “Don’t carry anything that’s explicitly a weapon. Flag poles and signs work,
                  but openly carrying obvious weaponry is probably not a good idea.”

                ● “A wrench with a wrist lanyard gets the same job [as a blackjack/billyclub]
                  accomplished.”


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                  ● “Just carry a pocket full of rocks. They can be in a sock or something.”




           106.   One co-conspirator on Discord posted a link to his store, Resistance Tools, along

 with a coupon code (UNITETHERIGHT2017), and wrote “FOR PEOPLE NOT CONCEALED

 CARRYING IN C’VILLE: I sell stun guns, tasers, pepper spray, batons, and other self-defense

 stuff.”

           107.   Defendants Ray and Anglin issued directives using Daily Stormer’s website in

 advance of the Unite the Right weekend. In articles titled “Operational Security for Right Wing

 Rallies” and “Charlottesville: Why You Must Attend and What to Bring and Not to Bring!”

 “Stormers” were told that they were required to bring tiki torches and should also bring pepper

 spray, flag poles, flags, and shields.

           108.   Defendants and co-conspirators provided guidance and instructions to co-

 conspirators and participants about how to try to avoid the legal ramifications of their violence.

 For example, they set up a channel on Discord devoted to understanding Virginia Law, where

 one co-conspirator suggested that rallygoers buy self-defense insurance.

           109.   Defendants also assured co-conspirators that they would be protected when they

 engaged in violent acts intended, incited, strategized, and encouraged by Defendants. The



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 “General Orders” told attendees that if they found themselves arrested, there would be “money

 and a legal team set aside for you after.” Spencer put out a call for Attorneys on his website,

 altright.com.

        110.     Daily Stormer advised attendees:

                         [I]f you end up in some heavy stuff and are not yet
                 charged with anything, use your moments of freedom to get really
                 difficult to find. Do not wait around for bad processes to begin
                 against you. Exit from any risky situation as quickly as you can.
                 If you make yourself easy to serve with legal process, legal
                 process will be likely be served to you.

        111.     Defendants and co-conspirators told each other to bring shields, uniforms, flags,

 and signs decorated with iconography that would instill fear along racial and religious lines,

 while also identifying rallygoers with the hate groups to which they belong. The Texas and

 Louisiana chapters of Vanguard America, for example, planned to have shields with their logos

 painted on.

        112.     Defendants also discussed and intended for followers to come with paraphernalia

 bearing racist and anti-Semitic imagery. Defendant Kessler, for example, explained: “The

 Confederate flag is THE BEST optics because it’s beloved by legions of Southerners who are on

 the doorstep of becoming just like us if we can move them beyond ‘heritage not hate.’”

        113.     The “official” poster for the event contained Nazi and confederate iconography,

 including imperial eagles reminiscent of Nazi Germany’s national emblem, confederate flags and

 monuments, confederate soldiers in formation.




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 D.       Defendants Coordinated Funding, Logistics, Transportation and Legal Support For
          Co-Conspirators and Attendees

          114.    Defendants furthered their conspiracy and its illegal, injurious objectives by

 coordinating attendance at the rally through Discord, the Daily Stormer website, and other

 media.

          115.    On Discord, Defendants established the #sponsors_only and #i_need_a_sponsor

 channels to provide financial support to others who wanted to travel to Charlottesville.

 Defendants also used channels like #carpool_wanted and #carpool_available to organize

 carpools in “Hate Van[s]” and “full blown hate convoy[s].” 6




 6
          The “Hate Van” and “hate convoy” suggested by conspirators in this case has historical precedent. During
 the Civil Rights Era, George Lincoln Rockwell, the founder of the American Nazi Party, and his supporters drove a
 two-vehicle caravan that included a blue and white van dubbed the “Hate Bus” through the South. The exterior of
 the van was plastered with the words “LINCOLN ROCKWELL’S HATE BUS” and the phrases, “WE DO HATE
 RACE MIXING” and “WE HATE JEW-COMMUNISM.” Rockwell pledged solidarity with the Klansmen who
 attacked the Freedom Riders (black and white civil rights activists who rode interstate busses in a campaign of
 desegregation) and hoped to confront the “Communist, nigger-loving” Riders when they arrived in New Orleans. In
 New Orleans, they demonstrated with signs that read “America for Whites, Africa for Blacks” and “Gas Chamber
 for Traitors.” After Rockwell’s assassination in 1967, the American Nazi Party broke into two factions, one of
 which became the Defendant NSM, run by Defendant Schoep. See RAYMOND ARSENAULT, FREEDOM RIDERS: 1961
 AND THE STRUGGLE FOR RACIAL JUSTICE 195 (1961).




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        116.       On the Daily Stormer website, attendees were advised: “If you want to come but

 can’t find a way, get on the BBS [a Daily Stormer forum] and ask for help. Go to the Book Club

 section and find the nearest book club to you and post in that thread that you want to go but need

 assistance. If you happen to have hit a dead thread, start a thread in General Discussion asking

 for help. If you are going and have an extra seat or seats, start a thread to offer a ride.”

        117.       Cantwell asked listeners of his Radical Agenda podcast and readers of his website

 to send money to him if they “want[ed] to help,” but could not attend the “rally.”

        118.       RootBocks, and WeSearchr—sites that were set up to raise money for hate-based

 causes—facilitated the attendance of co-conspirators. On July 28, for example, RootBocks

 tweeted “@BakedAlaska was banned from @GoFundMe so go help him out here.” Baked

 Alaska a/k/a Tim Gionet has advocated racial and religious based violence, including by

 circulating an image of a Jewish woman in a gas chamber. David Duke also tweeted, “Help my

 friend Baked Alaska get to the #UniteTheRight rally. Please donate to make this happen.

 rootbocks.com/projects/get-b . . .”

        119.       On the August 8 “Charlottesville Unite the Right Announcement Special” podcast

 with Defendant Peinovich, Defendant Mosley told listeners that they’d be setting up a general

 legal fund using Rootbocks. On that same program, Mosley told listeners how to get help with

 transportation.

        120.       Defendants and co-conspirators also coordinated for travel the day of the “rally”

 on Saturday. After consulting with Defendant Kessler, Tyrone took responsibility for helping

 organize shuttles. One co-conspirator instructed Discord participants: “Nobody is going to the

 park on their own. We will be arriving as a group.”




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 E.     When Plaintiffs and Others Sought to Prepare for the Events of August 12, They
        Were Targeted for Additional Threats and Harassment

        121.    Plaintiffs and community members understood that August 12 could be (and

 ultimately was) the largest public gathering of hate groups in decades.

        122.    Anticipating a need for a designated, separate space for peaceful protesters, a

 University of Virginia professor received permits for McGuffey Park and Justice Park for the

 periods during which the Unite the Right "rally" was to take place.

        123.    A broad group of concerned citizens, including Plaintiff Wispelwey, recognized

 the need to organize community members in advance of the rally weekend in order to provide a

 sense of solidarity for Charlottesville and give guidance on non-violent protest.

        124.    Wispelwey, an ordained minister, co-created a membership-organization,

 “Congregate,” to join interfaith clergy from around the country to “stand against white

 supremacy and bear witness to love and justice.” Congregate’s goal was to bring 1000 clergy-

 members to Charlottesville to stand up for equality and against hate. Working with other

 religious leaders and community organizers and organizations, Congregate planned an interfaith

 service for August 11 at St. Paul’s Memorial Church on University Avenue (“St. Paul’s”), the

 night before Defendants had obtained their permit to gather in Emancipation Park. Congregate

 also helped plan an interfaith “sunrise service” at the African-American First Baptist Church on

 West Main Street so that community members could gather, feel supported, and pray.

        125.    As a result of its work in support of the Charlottesville community, Congregate

 was targeted. Defendant Kessler advised his followers of Congregate’s work in a video released

 prior to the Unite the Right weekend. In doing so, Kessler intended to have others threaten, and

 potentially cause violence to, the organization—a practice that is not uncommon among

 Defendants and co-conspirators. For example, after a photograph was published of a young


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 woman giving the middle finger to a man in a confederate army uniform, a prominent member of

 the East Coast Knights tweeted out the young woman's home address and wrote: “We will be

 having a rally at this address next week. Bring your own torch.”

        126.    On August 2, one co-conspirator posted on Discord screenshots from a Facebook

 event for an upcoming community “Back to School Block Party” in Charlottesville. He

 commented: “Negro block party about 1 mile SW of Lee park.” Following that post, one

 Discord participant suggested that a white supremacist group “go to the bloc party after and beat

 them at kick ball.” Another replied, asking, “What happens if we lose? I hear niggers are pretty

 good at sports ball.” A third replied, “We shank them.”

        127.    Defendant Kessler along with other co-conspirators posted various photographs

 on Discord and provided names and identifying information of individuals planning to protest in

 Charlottesville, as well as the community groups organizing the protest. On August 10, 2017,

 Kessler, Mosley, and others hosted a voice chat on Discord, during which an unidentified voice

 offered a “solid gold medal” to any person who would shave the “Bearded Lady,” referring to a

 photograph of an expected protestor.

        128.    Congregation Beth Israel, the synagogue to which Plaintiffs Pearce, Jane Doe 1,

 Jane Doe 2, and Jane Doe 3 belong, also learned of Defendants’ online, public threats to

 Charlottesville’s Jewish population. In reasonable fear and apprehension of Defendants and their

 co-conspirators, the Temple made the painful decision to move and hide its sacred Torah scrolls

 off site in advance of the weekend. Among the Torahs at the Synagogue was one salvaged from

 a neighborhood of Eastern European Jews who were massacred during the Holocaust that is

 displayed in a glass cabinet. Unfortunately, that Holocaust Torah could not be moved because of




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 its fragile condition. Plaintiff Pearce thought at the time of how ironic it was that a Torah that

 managed to survive the Holocaust was again being threatened by Nazis.

        129.    The Temple also decided it needed to move its Saturday Shabbat services up an

 hour, so that it could close in the afternoon when Defendants and other neo-Nazis and white

 supremacists were expected to be in Charlottesville. The Temple took further safety precautions,

 including hiring a security guard, to keep the congregation safe while they were there for

 services, re-directing substantial resources.

        130.    Stores, restaurants, and bars around town, created signs that they posted in their

 windows showing the businesses’ support for equality and diversity. Those stores and

 restaurants were also targeted by Defendants.

        131.    In June, for example, Kessler encouraged Discord participants to obtain the names

 of local businesses whose owners signed a petition to ask the government to cancel Kessler’s

 permit. In August, co-conspirator Griffin tweeted about targeting a local restaurant, Brazos

 Tacos. Defendant Mosley also tweeted about targeting several restaurants, namely Brazos

 Tacos, Cinema Taco, Commonwealth Restaurant and Skybar, Mudhouse, and the Whiskey Jar.

 Spencer tweeted a picture of Commonwealth Restaurant, which had a sign in the window

 reading: “If equality & diversity aren’t for you then neither are we.” On August 10, Peinovich

 tweeted, “Do these white business owners and shitlibs in CVille think that their virtue signaling

 mean they will be spared somehow? Lol.”

        132.    By identifying these businesses, Defendants intended that their co-conspirators

 and followers would threaten these businesses. A number of these businesses thereafter received

 in person and mailed threats:




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 II.    On August 11 and 12, Defendants Successfully Implemented the Violence and
        Intimidation They Had Planned

 A.     Friday, August 11, 2017

        1)     The “Secret” Torch Parade

        133.   Defendants, including Mosley, Spencer, Kessler, Ray, Anglin, Cantwell, and

 Invictus, along with their co-conspirators, organized a torchlight march through campus

 culminating at the statue of Thomas Jefferson near the Rotunda on August 11 at the Grounds at

 UVA.

        134.   The permit Kessler applied for and received was for the following day, August

 12, in Emancipation Park. Defendants did not publicly disclose the time or location for the

 August 11 torch parade “because it was a secret arrangement.”

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        135.    The torch parade was the result of weeks of planning by Defendants and co-

 conspirators. They had established a #friday_night channel on Discord to coordinate attendance,

 dress code, and plans. They advised co-conspirators that the event was intended to be a secret

 and that they should bring torches.

        136.    For example, the Daily Stormer website stated:

                        Tiki Torches: Yes – required. Pick up tiki torches before
                you leave your hometown. There will be a torchlight ceremony
                and the tiki torches will all be gone from the shelves of the local
                stores. Dollar stores are your best bet. Wal-Mart has them cheap
                as well. Make sure and get some tiki torch fuel/oil too.
                Otherwise they won’t burn.

        137.    On a planning call conducted through Discord, Mosley instructed Defendants and

 co-conspirators: “We are doing a torch light event on Friday. . . . Anyone who doesn’t have tiki

 stuff now should go out and get it tonight or tomorrow morning and if you could get extras that

 would be great.” Kessler ordered attendees to buy torches for Friday, but to do so outside of

 Charlottesville, so that they would not “tip our enemy off.” He instructed that people “buy extras

 for those who are flying in or unprepared.”

        138.    Defendant Mosley ordered individuals to arrive at Nameless Field, a large area

 behind UVA’s Memorial Gymnasium, at 9:30 pm, so that they could march once darkness fell at

 9:47 pm. He told them not to arrive earlier to avoid tipping off counter-protestors, and stressed

 that “it’s extremely important that nobody mention this outside our circle.”

        139.    While planning their torchlight march, Defendants were aware of the fact that

 open fires are illegal on UVA’s campus without authorization. Nearly one month before the

 planned torchlight march, a Discord participant posted a link to UVA’s guidelines against open

 fires. A co-conspirator, and moderator on Discord, “pinned” the regulation to the chat, meaning

 that it was highlighted for participants.

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        140.    The choice to use lit torches was a deliberate decision to harass and intimidate the

 people of Charlottesville and counter protesters, especially people of color and Jewish people.

 Defendants and co-conspirators intentionally drew on the history of torch-bearing mobs, and in

 particular, the Ku Klux Klan’s use of torches in the late 1800s and in the twentieth century, and

 the Nazi’s use of torches in their rallies in the 1930s. In both historical cases, just as with cross-

 burning, the use of torches was connected with racial violence; torches were chosen by

 Defendants and co-conspirators as part of a deliberate plan to evoke fear of the same kind of

 violence. As one co-conspirator on Discord explained: “Tiki torches are the last stand of

 implicit whiteness.” Defendant Ray explained the purpose of the torch parade as follows: “Our

 country is being usurped by a foreign tribe, called the Jews. We are going to stop it.” Defendant

 Invictus explained to a reporter, “Somebody forgot the pitchforks at home, so all we got is

 torches.”

        141.    On the morning of August 11, Defendant Cantwell and other co-conspirators

 gathered at a Walmart outside of Charlottesville. Cantwell then travelled to McIntire Park to

 prepare for the evening. In an interview with a reporter from Vice, Cantwell said: “I’m trying to

 make myself more capable of violence. . . . I’m here to spread ideas, talk, in the hopes that

 somebody more capable will come along and do that.”

        142.    On Friday evening, using Discord, Mosley alerted co-conspirators that they

 should go to UVA: “Everyone can start assembling at nameless field right now with your

 torches to start staging. We will step off from the field at 10 pm.”

        143.    Starting around 7:30 p.m., approximately 300 neo-Nazis and white

 supremacists—Defendants and their co-conspirators—began arriving at Nameless Field. They

 carried unlit tiki torches, and many wore khakis pants and white polo shirts (the uniform of



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 Defendant Vanguard America) and pins marking their affiliations with different hate groups. A

 little after 8:00 p.m., Spencer texted a reporter: “I’d be near campus tonight, if I were you. After

 9:00 p.m., Nameless field.”

        144.    By early evening, Plaintiffs Jane Doe 2, Jane Doe 3, and Wispelwey were inside

 St. Paul’s Church, along with an overflow crowd of an estimated 1,000 people. Dozens of local

 and national clergy members visiting Charlottesville for the weekend participated and spoke at

 the service.

        145.    Plaintiff John Doe and Jane Doe 1, along with their fellow UVA students, then

 peacefully walked to the Rotunda where Defendants were believed to be holding their event.

        146.    At the same time, at Nameless Field, Plaintiff Magill observed Defendants and

 their co-conspirators barking and grunting loudly, making sounds that resonated for blocks.

 Defendants Cantwell, Kessler, Ray and other co-conspirators were issuing orders to the other

 white supremacists and neo-Nazis, telling them to get in specific formations and assigning

 people either to march with a torch or on the side as “security.”

        147.    Defendants and their co-conspirators filled their tiki torches with fuel, formed a

 long column, and lit the flames. They then started marching two-by-two from Nameless Field to

 the Rotunda, and down to the Jefferson Statue. Defendants and co-conspirators deliberately took

 a circuitous route that included marching through student housing on the Lawn, which Plaintiff

 Sines observed, and which was intended to threaten, intimidate and harass as many bystanders as

 possible.

        148.    Defendants marched in an organized, coordinated fashion. Organizers, including

 Defendant Cantwell, wore earpieces, carried radios, and shouted specific orders at the marchers.

 They shouted to keep pace, avoid gaps, stay in line “two-by-two” and march alongside a



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 “security guard.” Defendant Invictus said it was a “tight operation” and, in his live video feed,

 frequently enthused “high T!,” meaning high testosterone.

         149.    Plaintiff Sines heard the marchers chanting slogans chosen for their intimidating

 and racially harassing effect. These slogans included, “You will not replace us!” “Jews will not

 replace us!” “Blood and soil!” “White lives matter!” and “This is our town now!”

         150.    The marchers also barked like dogs and performed Nazi salutes. Again, these

 actions were intentionally chosen for their racially threatening, intimidating, and harassing effect.

         151.    Defendants intended to send a clear message through the torch parade: Jewish

 people, black people, and their allies should be afraid for their safety, livelihoods, and lives.

         2)      The Attack at the Rotunda

         152.    The torch march eventually reached the steps on the far side of the Rotunda.

 Hundreds of neo-Nazis and white supremacists, including Kessler and Spencer, charged toward a

 small group of fewer than 30 people, mostly students and community members, including

 Plaintiff John Doe and Jane Doe 1, who had locked arms around the statue of Thomas Jefferson.

         153.    As Defendants and their co-conspirators rushed down the steps that surround the

 Rotunda and streamed toward the Jefferson statue, they continued to shout “Blood and soil,”

 “Jews will not replace us,” and “You will not replace us,” and to bark like dogs. They also made

 monkey noises at the black protesters. Plaintiff John Doe, one of the few African-American men

 present, was terrified and feared for his life.

         154.    As they reached the statue, Defendants and co-conspirators circled the students to

 trap them. Seeing the mob surround the students, Plaintiff Magill, who had followed the white

 supremacists warning others to steer clear, ran through the crowd and locked arms with the small

 group, which included Jane Doe 1 and John Doe. One co-conspirator yelled, “we need some

 more people to fill in this way to block these people off.” After the fact, one of the students
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 tweeted: “They surrounded us at the statue / They wouldn’t let us out”; Defendant Spencer

 retweeted this, adding “Fact check: true.”

        155.    Defendants and co-conspirators began to kick and punch the protesters around the

 statue, using their torches as weapons, and beat individuals onto the ground. Defendant Ray

 claimed that the group of white supremacists “went through [the protestors] like shit through a

 goose!”

        156.    From the crowd, Defendants co-conspirators and others threw an unidentified

 fluid at the peaceful protesters around the statue, including on Plaintiffs Magill. Looking down

 at the fluid on their clothing, which they feared was fuel or other flammable liquid, and the

 hundreds of lit torches around them, Plaintiff John Doe, Jane Doe 1 and Magill believed that they

 might be killed. Co-Conspirators and others then threw their lit torches through the air, aimed

 and directed at many of the protesters around the statue. At one point, Defendant Ray shouted,

 “The heat here is nothing compared to what you’re going to get in the ovens!”

        157.    Plaintiff Sines witnessed co-conspirators throwing fuel and tiki torches at the

 peaceful protestors around the statute.

        158.    Defendants and co-conspirators, including Cantwell, attacked the protestors with

 mace. The Daily Stormer included the below photo of Cantwell spraying a protestor in the eyes

 in its live feed with the caption “. . . might be the greatest photo I’ve ever seen.” The same photo

 was retweeted by Eli Mosley under a caption: “He protect / He atack / But most importantly he

 got your back.”




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        159.    Due to Defendants’ conduct, and consistent with their intention to terrorize,

 Plaintiff John Doe feared that he was in imminent danger. He was sprayed with mace.

        160.    Fearing for their lives, Plaintiffs John Doe, Plaintiff Jane Doe 1, and the other

 protesters struggled to escape the mob. Defendants and their co-conspirators climbed to the top

 of the Thomas Jefferson statue and waved their torches high in the air, yelling, “Hail Spencer!

 Hail victory!” Spencer spoke briefly to the crowd, saying, “We own these streets! We occupy

 this ground!” He told the crowd that they were “risking their lives” for their future. This was

 consistent with the unlawful plan developed by Defendants through their conspiratorial acts in

 the weeks and months preceding these events, and as operationalized and modified by

 Defendants in response to developments on the ground.

        161.    Plaintiff Jane Doe 2 and her oldest daughter, Jane Doe 3, left an interfaith service

 at St Paul’s Church to go home early. From their perch, just across from the Rotunda, they could



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 see the events unfolding. Jane Doe 2 did not know until she approached the Rotunda that her

 youngest daughter was one of the group of students surrounding the statue.

         162.    These acts of violence were not isolated or unplanned incidents. The torch rally

 was planned with the specific intent of engaging in racially-motivated violence, threats,

 intimidation, and harassment. The attacks upon the students were coordinated both in advance

 and on the day that they occurred. Defendants and co-conspirators intentionally formed a circle

 trapping the students and either directly participated in the ensuing violence or continued to

 incite it—including through the chants described above—as the violence was occurring.

         3)      St. Paul’s Memorial Church

         163.    During the attack at the Rotunda, hundreds of people were across the street at St.

 Paul’s Church, listening to civil rights and religious leaders speak of peace and equality. At least

 one white supremacist, Defendants’ co-conspirator, was within the church, live-streaming the

 interfaith service to his followers.

         164.    Some of the individuals within the church, including Plaintiff Wispelwey, along

 with people who had volunteered to serve in a security role outside, could see and hear the mob

 charging through the Rotunda, chanting and wielding torches.

         165.    After seeing the mob surround and attack the peaceful protestors at the

 Rotunda, Plaintiff Wispelwey and others were reasonably afraid that the mob would come

 towards the church to cause violence to the building and the individuals inside, particularly given

 the racial and religious make-up of the assembled group and the fact that Defendant Jason

 Kessler had specifically targeted the Congregate, in advance, for harassment and intimidation.

         166.    At around 10:00 p.m., when the service at St. Paul’s ended, the organizers asked

 everyone in attendance to leave in groups through the back doors to avoid the neo-Nazis and

 white supremacists. However, after learning more details of the violence occurring at the
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 Rotunda, Plaintiff Wispelwey reasonably apprehended that force would be used against those

 still within the church if they went outside. The church was filled with children and elderly

 individuals who were particularly vulnerable to any violence that could occur. Accordingly, a

 few minutes later, everyone at St. Paul’s was asked to return to their seats. They remained in the

 church for nearly an hour after the service was supposed to end.

        167.    After the church re-opened its doors, Plaintiff Wispelwey drove some of his

 fellow clergy back to their hotels to make sure they were safe. From his car, Wispelwey saw co-

 conspirators carrying baseball bats and torches—carried for the purpose of threatening,

 intimidating, and harassing residents.

        168.    Directly outside of one hotel, Defendant Augustus Invictus asked Wispelwey,

 who was wearing a collar, what church he belonged to, and intentionally intimidated him,

 consistent with Defendants’ broad campaign of racial and religious subordination.

        4)      Defendants Celebrated the Torch Parade as an
                Advertisement for the “Unite the Right” Rally the Following Day

        169.    David Duke, the former Grand Wizard of the Ku Klux Klan, and co-conspirator,

 posted the following:




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        170.    Co-conspirator McLaren posted a photo of the march and tweeted: “White

 peoples never agreed to become minorities in their own lands, in numbers and spirit.” Defendant

 Kessler tweeted a picture of the torchlight marchers surrounding the protestors at the statue and

 wrote: “Incredible moment for white people who’ve had it up to here & aren’t going to take it

 anymore. Tomorrow we #UniteTheRight #Charlottesville.” Spencer retweeted that tweet.




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        171.    Invictus told watchers of his livestream to come on Saturday to the most

 important “rally” of the year. Anticipating and strategizing violence, Defendant Anglin wrote on

 his Daily Stormer website that people should “be at Lee Park by noon, preferably by 11:00.”

 Although he wouldn’t be there, Anglin said that he had given Defendant Ray words to relay to

 the crowd. He told readers: “Make sure you’re with a crew. Don’t park alone, don’t walk to

 your car alone . . . If you wanna stay up all night with Stormers, or arrange to travel to the park

 together tomorrow, get in this thread and start sending people PMs.” He signed off for the

 evening saying “[w]e are on the verge of breaking through into a whole other realm.”

 B.     Saturday, August 12, 2017

        1)      Defendants Intentionally Planned A Violent Confrontation With Counter-
                Protesters

        172.    On August 12, Defendants, their co-conspirators, and others acting at their

 direction executed their plan to carry out racial, religious, and ethnic violence, intimidation, and


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 harassment. Defendants Kessler, Cantwell, Mosley, Heimbach, Hill, Invictus, Ray, Spencer,

 Damigo, Peinovich, Fields, Parrott, Tubbs, the Nationalist Front, League of the South, NSM,

 TWP, Vanguard, the East Coast Knights, the Loyal White Knights, FOAK, and hundreds of

 Stormers (many of them from Stormer Book Clubs) all participated in the violent events of the

 day together with co-conspirators including Duke and the Proud Boys.

        173.    Defendants and co-conspirators planned to arrive early and anticipated and

 encouraged the use of violence to assist the rally. As one co-conspirator explained: “Me, the

 rest of TWP and LS [League of the South] have been to more than one rodeo. / And shit NSM

 will be there early too / Those guys are nuts / In a good way.” Kessler promised that there would

 be hundreds of members of TWP and League of the South at the park as early as 8:00 a.m.

        174.    Defendants Mosley, Kessler, and co-conspirators exhorted rallygoers to arrive

 before the park opened to form “a white bloc barrier or square around the entire statue + podium

 . . . . given that they know we’re coming, we’ll all need as many people as possible to be there

 right when the park opens.”

        175.    Defendant Kessler told Discord participants: “EVERYONE needs to get to the

 park as early as possible and defend our territory.” He suggested that camping out at the

 monument the night before would give them “[t]he most extremely prepared position.” In these

 remarks, Kessler referred to (and actively encouraged) preparation for violence against racial and

 religious minorities and anyone who supported their cause.

        176.    A co-conspirator asked the Discord group: “So are we going to occupy very

 early? Or try and force this commie scum out after the fact? I’m good with either.” Another

 participant responded, “We will be fine as long as we have bodies there and willing to remove




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 whoever is in our way. Vanguard is fabricating 20 additional shields. We should have a good

 amount between organizations. We just need to make sure we have bodies there ready to rock.”

        177.    Consistent with the conspiracy’s effort to organize and maximize violent acts, a

 co-conspirator and moderator on Discord told participants that “we’ll be putting out a video for

 basic formation, roles, and commands to all of the group leaders shortly” and “posted a “Shields

 & Shield Tactics Primer” made by the “Detroit Right Wings,” as well as a video illustrating

 shield fighting techniques, to be studied by participants. Defendant Eli Mosley said: “I run this

 [the Unite the Right “rally”] as a military operation . . . I was in the army.”

        178.    Defendants took no steps to prevent, or aid in preventing, the intimidating,

 threatening and otherwise illegal conduct they knew was being planned and coordinated.

        2)      The Events On August 12 Were Intentionally Violent In Accordance with
                Defendants’ Planning

        179.    According to Charlottesville Police Chief Al S. Thomas Jr., Defendants refused to

 follow a plan that had been worked out to keep them separated from the counter-protesters. For

 example, instead of entering the park from one entrance, they came in from all sides.

        180.    Most of the Defendant groups arrived in military formations, armed like

 paramilitary forces—carrying, among other things, guns, shields, protective gear, flags, and rods.

 They shouted commands at their groups to “move forward” or “retreat.” Governor Terry

 McAuliffe stated that “80 percent of the people here had semiautomatic weapons . . . you saw the

 militia walking down the street, you would have thought they were an army.”

        181.    Four members of Defendant Nationalist Front, the League of the South, NSM,

 TWP, and Vanguard America met at a pre-set location in order to march to Emancipation Park in

 formation.




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        182.    Vanguard America marched to the Park first, chanting “Blood and soil!”

 Members of the group were dressed in helmets, white or black polos, and khakis, and wielded

 matching shields and flags. Defendant Fields (who was wearing the uniform white polo, khakis

 and carrying a black shield with the Vanguard logo) marched with Vanguard America.

        183.    The League of the South, led by defendant Michael Hill, followed. Like

 Vanguard America, they marched with coordinated shields and flags and carried rods and other

 weapons.




        184.    One member of the League of the South explained that he attended the Unite the

 Right “rally” because: “I intend to stand for the South and die for it if need be. They will not

 replace us.”




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           185.   TWP marched behind the League of the South, and Defendant Parrott marched

 with TWP. Defendant Heimbach guided the group, wearing a black combat helmet with a

 bodyguard close on his heels.

           186.   As the Nationalist Front groups and other Defendants and co-conspirators

 marched towards Emancipation Park, they shouted threatening, harassing, and intimidating

 language at Charlottesville residents and protesters on the basis of their race, religion, and

 ethnicity or their support for people of different races, religions and ethnicities. These included

 statements like, “Get the fuck out of our country, bitches! Yeah, come up to me! Come up to me,

 bitch!”

           187.   Marching down Jefferson Street, Defendants and co-conspirators passed the

 synagogue where plaintiffs Jane Doe 1, Jane Doe 2, Jane Doe 3 and Pearce are members. During

 the Shabbat services, three co-conspirators in uniforms and semi-automatic rifles stood across

 form the temple. As others paraded past, they shouted, “There’s the synagogue!” followed by

 chants of “Sieg Heil” and other anti-Semitic language. Some carried flags with swastikas and

 other Nazi symbols. Defendant Ray, intending to threaten, intimidate and harass

 Charlottesville’s Jewish population, carried a banner (later posted on Daily Stormer’s website)

 that read “Gas the kikes, race war now!” Defendant Ray also told a woman to “put on a fucking

 burka” and called her a “sharia whore.” He ended by proclaiming: “Hitler did nothing wrong.”

 These acts were fully consistent with the broader campaign of racial and religious suppression at

 the heart of Defendants’ conspiracy.

           188.   Later that day, in a thread with Daily Stormer, co-conspirators suggested meeting

 at 3 p.m. to “torch those Jewish monsters.” After seeing their exchange, the Charlottesville’s




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 mayor made a frantic appeal to the Secretary of Public Safety asking for police protection at the

 Temple.




        189.    By contrast, Plaintiff Wispelwey had organized a 6:00 a.m. interfaith prayer

 “sunrise” service that was held at the historical African-American First Baptist Church on West

 Main Street.

        190.    After the service, a number of community members left the church to hold a

 peaceful march from nearby Jefferson School African American Heritage Center to McGuffey

 Park. Others, including Plaintiff Wispelwey, silently marched with other clergy members

 directly from the sunrise service to Emancipation Park.




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           191.   When Plaintiff Wispelwey and his fellow clergy arrived at Emancipation Park,

 around 8:00 am, they were confronted by heavily armed militiamen and extremists, many in full

 military attire with semiautomatic rifles and pistols. Plaintiff Wispelwey and other clergy

 members locked arms and knelt before them.

           192.   Consistent with their elaborate planning and lessons in battlefield tactics,

 Defendants and their co-conspirators charged through the peaceful clergy. Many of the clergy

 were pushed to the ground, and Plaintiff Wispelwey was knocked into a bush. A co-conspirator

 stood staring Plaintiff Wispelwey directly in the eyes and repeatedly shouting “fuck you, faggot”

 at him.

           193.   After the initial charge, Plaintiff Wispelwey and other clergy were afraid that they

 could get seriously injured. After this assault, Plaintiff Wispelwey became afraid that he and the

 other faith leaders would suffer another, more serious attack. As a result of Defendants’ and




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 their co-conspirators’ actions, and as the violence escalated, Plaintiff Wispelwey was forced to

 end his peaceful protest and leave the park where he and others were lawfully standing.

        194.    Defendants bragged about their violence after the fact. Defendant Parrott, for

 example, wrote an account of the Unite the Right “rally” in “Catcher in the Reich: My Account

 of my Experience in Charlottesville.” He wrote that Defendants TWP, League of the South,

 NSM, and other Nationalist Front groups joined together “to help create two shield walls” for

 “the fight.” He explained, “While most of the Identity Evropa men were occupied on other

 fronts, they sent a detachment of fighters to assist us and to relay intelligence to Jason Kessler

 and other organizers. They offered more fighters, but we had our positions amply covered.” He

 further said, in an interview with the Los Angeles Times:

                With a full-throated rebel yell, the League broke through the wall
                of degenerates and TradWorker managed to enter the Lee Park
                venue itself while they were largely still reeling. Michael Tubbs,
                an especially imposing League organizer towered over and pushed
                through the antifa like a Tyrannosaurus among raptors as league
                fighters with shields put their training to work.

        195.    Defendant Hill later exclaimed that: “Mr. Tubbs was everywhere the chaos was.”




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        196.    By around 10:00 a.m., having charged through protesters, pushing and shoving

 them with their shields and rods, TWP, NSM and League of the South lined up inside

 Emancipation Park, led by, among others, Defendants Schoep, Hill, Heimbach, and Parrott.

 Defendant Parrott explained that they had “stuck with the original plan to define and secure the

 event perimeter.”

        197.    Once inside the Park, Defendants’ racial, religious, and ethnically motivated

 violence did not stop. It escalated.

        198.    As they had planned, Defendants used their shields and rods to plow through

 people and knock them over. They used rods and flags to assault protesters.

        199.    Defendants also encouraged violence by others. Over the course of the morning,

 Daily Stormer, through a livefeed maintained by Defendants Anglin and Ray and other Daily

 Stormer staff on the ground encouraged followers to organize in groups and deliberately incited

 them to engage in violent acts. Among their writings, they told followers: “WHITE SHARIA

 NOW!” and “WE HAVE AN ARMY! THIS IS THE BEGINNING OF A WAR!”

        200.    Having witnessed the events of Friday and the anti-Semitic chants of defendants

 and their co-conspirators, Plaintiff Pearce struggled with whether she should attend the peaceful

 protest and whether she should identify herself as Jewish. On the one hand, she believed that it

 was important to peacefully protest, but she also feared for her safety. As she left her house, she

 made a Star of David out of duct tape and attached it to her shirt which dawned a Hebrew letter

 in rainbow colors to show her support for the LGBT community. She went to Emancipation

 Park to peacefully protest the neo-Nazis and white supremacist presence in Charlottesville.




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        201.     One of the rallygoers, a co-conspirator, saw Pearce on the street, pointed at her,

 and, shouted: “Oh good, they are marking themselves for us, so it is easy to find them.” At the

 Park, Pearce was joined by her son, who also wore a Star of David and carried a rainbow flag.

        202.    While Pearce was standing, peacefully, outside of the Park, expressing her

 solidarity with other Jewish and non-white members of her community, another white-

 supremacist and co-conspirator threw an open bottle filled with a foul liquid at her—a common

 tactic of Defendants and their co-conspirators. Indeed, in advance of the rally, co-conspirators

 had encouraged others to “[p]ee in balloons and throw them at communists / In self defense,”

 and to “[f]eel free to urinate and defacate on your nearest antifa terrorist faggot pussy.” The

 bottle struck Pearce on her leg and she could smell the foul liquid on her body.

        203.    In short order, peaceful protesters, including Plaintiffs Jane Doe 2, Wispelwey,

 Muñiz and Pearce, were forced to leave the area of Emancipation Park as Defendants and co-

 conspirators attacked people with clubs, smoke bombs, and pepper spray, in fulfillment of their

 premeditated strategy of inflicting injury.

        3)      The Authorities Declared the Rally an Unlawful
                Assembly and Defendants and Co-Conspirators
                Intentionally Spread the Violence Outside Emancipation Park

        204.    By 11:22 am, before the permit for the “rally” even began, Charlottesville

 officials declared the gathering in Emancipation Park an unlawful assembly, defined under

 Virginia law as “whenever three or more persons assembled share the common intent to advance

 some lawful or unlawful purpose by the commission of an act or acts of unlawful force or

 violence likely to jeopardize seriously public safety, peace or order.”

        205.    At 11:28 am, Governor McAuliffe declared a state of emergency, stating: “It is

 now clear that public safety cannot be safeguarded without additional powers, and that the

 mostly out-of-state protestors have come to Virginia to endanger our citizens and property. I am
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 disgusted by the hatred, bigotry and violence these protestors have brought to our state over the

 past 24 hours.”

        206.    Daily Stormer wrote shortly thereafter: “Someone is getting gassed! . . . LET’S

 HOPE IT’S JEWS!”

        207.    Jason Kessler and other Defendants directed the mob to move to McIntire Park.

 Some Defendants and co-conspirators, including Defendants Ray, and Cantwell, loaded into

 white vans. In his interview with Vice that day, Ray explained: “We’re showing to this parasitic

 class of anti-white vermin that this is our country. This country was built by our forefathers. It

 was sustained by us. It’s going to remain our country.”

        208.    Daily Stormer encouraged its followers to go to McIntire Park and assemble

 “behind” Defendants Ray and Cantwell, and incited violence by the crowd:




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        209.    Among those who followed their direction was Vanguard America. Defendant

 Schoep also marched to McIntire Park, attacking protestors along the way. He explained, “I was

 offered a ride to safety and declined to leave until the women and others were safe, so we just

 marched back through antifa . . . We went right through [antifa] like warriors.” Defendant

 Parrott refused to leave Emancipation Park and was arrested by the police for failing to disperse.

 Parrott described his detention as being “a political prisoner for about 20 minutes.”

        210.    By 1:00 pm, Defendants Spencer and Peinovich, and their followers, had mostly

 reassembled in McIntire Park. Violence again broke out. One woman protesting Defendants’

 message was choked by co-conspirator, Steven Balcaitis, who was wearing a t-shirt advertising a

 white nationalist and anti-Semitic website, Red Ice. As he grabbed her neck, he looked at a

 bystander and said, “Don’t save her.”

        211.    Defendants Spencer and Peinovich spoke to their followers at McIntire Park.

 Defendant Peinovich called the counter-protestors “savages.”

        212.    Defendants at McIntire Park discussed returning to Emancipation Park in defiance

 of the police’s orders. Defendant Mosley sought people with guns: “I need shooters,” he said.

 “We’re gonna send 200 people with long rifles back to that statue.” According to a NSM twitter

 account, Defendant Schoep “led a group of 40 back the 1.3 miles from the 2nd park back to Lee

 Park, through Antifa and police interference!” They jeered: “So much respect for my

 Commander Jeff Schoep. I will go into battle with you anytime Sir 83/88!”

        213.    A few minutes after 1:00 p.m., Daily Stormer posted:




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         214.   Defendants took no steps to prevent, or aid in preventing, the violent actions that

 they knew was being planned.

         215.   Some Defendants and co-conspirators stayed in the parks while others dispersed

 among the downtown area of Charlottesville, near the pedestrian mall, where they terrorized

 residents. Muñiz, wearing a t-shirt with a representation of women of color, witnessed the

 marchers walk back to town from McIntire Park and then followed herself to join a group of

 peaceful counter-demonstrators.

         216.   Jane Doe 2, who is white, was wearing a Black Lives Matter shirt. A group of

 men shouted at her for Jane Doe 2's public display of support for minority residents of

 Charlottesville.

         217.   On the mall, Defendants and co-conspirators again brought violence. One co-

 conspirator, for example, was caught on video punching two peaceful counter-protestors directly

 in the face.




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         4)       The Car Attack

         218.     “Run Them Over” is a popular anti-Black Lives Matter and anti-racial justice

 protest catchphrase and shows up in memes and comments across the Internet. 7 In late January

 2017, Fox Nation, the opinion website operated by Fox News, tweeted out a “Reel Of Cars

 Plowing Through Protestors Trying To Block The Road.” The author of the video piece, which

 originally appeared on the Daily Caller, wrote: “Here’s a compilation of liberal protesters getting

 pushed out of the way by cars and trucks” and “Study the technique; it may prove useful in the

 next four years.” On Facebook, the author bragged about the popularity of the piece, boasting

 that he “[m]ade a profit for the company today. Went from 400,000 to 2 million views in a 24

 hour timespace #winning.”

         219.     The same trope was used as part of planning for the Unite the Right “rally.” On

 Discord, for example, in response to a post from Tyrone that if “something happens . . .

 adjustments will have to be made to remove people from the scene,” co-conspirator

 “AltCelt(IL)” responded with an image from a famous scene in the movie Dawn of the Dead, in

 which the protagonists retrofit buses with chainsaws and barbed wire to escape a mall by running

 over thousands of swarming zombies. AltCelt(IL) added a “crying laughing” emoji and wrote

 “This will be us.”




 7
           Over the past two years, the imagery of running protestors over with a car has gained currency among
 Defendants and others. Defendant Heimbach encouraged a police car to mow down peaceful protestors. An article
 reports that Heimbach was walking near the parade route when he encountered a group of demonstrators holding
 signs about water preservation. A black SUV with police plates drove up and stopped in front of the demonstrators.
 An officer leaned out the window and asked them to step aside so that they could pass. “Don’t stop, officer,”
 shouted Heimbach as the SUV made its way through the group, “Fucking step on the gas!”

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        220.     Tyrone replied with picture of a John Deere tractor captioned “Introducing John

 Deere’s new multi-lane protestor digestor” and commented, “I know NC law is on the books that

 driving over protesters blocking roadway isn’t an offense… Sure would be nice.”




        221.    On the same day (July 17, 2017), Tyrone asked the #virginia_laws channel, “Is it

 legal to run over protestors blocking roadways? I’m NOT just shitposting. I would like

 clarification. I know it’s legal in NC and a few other states. I’m legitimately curious for the

 answer.” Two participants reacted to this post with red heart emojis.

        222.    Another co-conspirator on Discord, using the #virginia_laws channel, posted a

 photo of an armored military tank and wrote: “Is this legal in VA?” Eleven participants

 responded with emojis expressing approval.

        223.    Similarly, when Defendant Kessler asked the #demonstration_tactics channel for

 advice on planning a march, one co-conspirator, “PrimitveXaoc,” encouraged the use of

 sidewalks because “straight through the streets like they did a few weeks ago for the ‘community

 defense’ March was awful (Antifa).” He posted several photos from that march and wrote:


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 “These fools had babies and children in the streets dragging banners over cars blocking their

 view and such. Too bad the civilians didn’t just make new speed bumps for some of these

 scum.”

          224.   At approximately 1:40 pm, motivated and encouraged by Defendants and their

 conspiracy, Defendant Fields deliberately drove his Dodge Challenger into a crowd of peaceful

 protesters.

          225.   Plaintiffs Martin, Blair, Sines, Muñiz, Jane Doe 1, and Jane Doe 3 were marching

 up Fourth Street when Fields attacked. Plaintiff Muñiz had walked to the front of the crowd

 when it was at the intersection of Fourth Street and Water Street to take a picture of the

 gathering. When the crowd turned left onto Fourth Street, Muñiz was towards the front of the

 crowd.

          226.   Plaintiffs Martin and Blair were approaching the same intersection, walking up

 Fourth Street towards the downtown mall, with their friend, Heather Heyer. As he saw the car

 speeding down the road, Martin pushed Blair out of the path of the moving car. She fell to the

 ground and sustained injuries, including a hematoma on her left side and a gash on her right arm.

 He was hit directly by the car, sustaining serious injuries, including a broken leg, fractured ankle,

 and multiple bruises.




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           227.   He is pictured below, flying through the air after the car slammed into his body.




           228.   Looking for Martin on the street, Blair saw people lying on the ground and

 bleeding. She stepped over them looking for Martin.

           229.   Blair found Martin on the ground, where people were trying to help him. Fifteen

 minutes after the attack, Martin was taken to the hospital and Blair rode in the ambulance with

 him. Blair did not receive immediate treatment for her injuries because she was looking after

 Martin.

           230.   While waiting in the hospital, Blair learned that a woman had died in the car

 attack. She feared that she knew who it was, and began asking everyone around her if they knew

 who it was. Eventually she learned that it was her friend, Heather Heyer, who had been struck

 and killed.



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        231.    Plaintiff Jane Doe 1 was hit directly by Defendant Field's car. She immediately

 went into shock. Her sister, Jane Doe 3, who had been steps away from the car attack, could not

 find Jane Doe 1 at first. Jane Doe 3 looked down at her t-shirt and observed spots of blood.

 Finally, Jane Doe 3 found her sister lying on the ground; she screamed for help after realizing her

 sister was seriously injured.

        232.    Jane Doe 1 had a gash in her head and was bleeding heavily. Jane Doe 3 feared

 for her sister's life. A street medic stood with Jane Doe 1 and Jane Doe 3 until an ambulance

 came to take both Jane Doe 1 and Jane Doe 3 to Martha Jefferson Hospital.

        233.    At the time, Martha Jefferson Hospital was on lock down because of concerns of

 mass casualties caused by the car attack. As a result, Plaintiff Jane Doe 3 was not allowed inside

 the hospital with her sister. Plaintiff Jane Doe 3 called her mother, Jane Doe 2, to let her know

 she was with Jane Doe 1 at the hospital.

        234.    Plaintiff Jane Doe 2 was in shock after receiving the phone call that her daughter,

 Jane Doe 3, was hit by a car. When Jane Doe 2 arrived at the hospital she was not allowed to

 enter to see her daughter. Plaintiff Jane Doe 3 collapsed into Jane Doe 2's arms outside the

 hospital entrance.

        235.    When Jane Doe 2 was finally able to enter the hospital, she sat in the waiting

 room waiting to hear any updates about her daughter. Watching the news, Jane Doe 2, for the

 first time, saw the video of Defendant Fields's car driving into the crowd where her daughters

 had been. She watched the footage repeat, repeat, and repeat. She sat in horror realizing that this

 was an intentional terrorist attack that physically injured Jane Doe 1.

        236.    Plaintiffs Muñiz and Sines narrowly escaped being struck by the car. They

 witnessed belongings and bodies flying in the air. When they saw Defendant Fields speed his



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 car in reverse—backing over many of the bodies he already hit—they were sure that he was

 going to come charging back into the crowd. Plaintiff Muñiz feared that the cars would be

 coming from all directions.

        237.    Plaintiff Muñiz ran away and collapsed on the side of the road. She suffered an

 acute stress reaction. Plaintiff Sines ran into an alleyway and was so shocked she had difficulty

 forming any words.

        238.    Plaintiff Muñiz saw volunteer medics arriving. Plaintiff Muñiz was shaken and

 terrified and could not stand up. Plaintiff Muñiz feared that the incident was no longer over.

 Finally, when Muñiz felt that she was safe from further attack, the medic got Muñiz to her feet

 and walked her to the trauma center.

        239.    Plaintiff Sines ran into an alleyway in complete shock. Fearing other attacks, she

 ran to the closest friend’s house downtown.

        240.    Plaintiff Wispelwey was not at Market Street when the car attack occurred. When

 he learned of what happened, he sprinted to the site with other clergy to provide assistance and

 support to victims and to help control the crowds and support medical vehicles reaching victims.

        241.    Plaintiff Pearce also rushed to the scene to provide care and, with the help of her

 son, tried to suppress the crowds so that medical vehicles could reach those injured.

        242.    But as Plaintiffs mourned and tried to care for one another, Defendants and co-

 conspirators celebrated and encouraged others to leave town immediately, before they found

 themselves in trouble.

        243.    Defendant Spencer tweeted “My recommendation: Disperse. Get out of

 Charlottesville city limits.” Defendant Kessler retweeted him. At 2:25 pm, Defendant Hill




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 tweeted “The League of the South had a good day in Charlottesville, Virginia. Our warriors

 acquitted themselves as men. God be praised!

          244.     Concluding its live feed for the day, Daily Stormer posted: “THE STREET WAR

 HAS ENDED. WE WON. WE SHOWED THAT OUR IDEAS HAVE TO BE SHUT DOWN

 WITH VIOLENCE.”

          5)       After the Fact, Defendants Celebrated Their Successful Plan to Incite Violence

          245.     As news about the car attack spread, Defendants celebrated what they believed

 was their “victory” and mocked the death of Heather Heyer.

          246.     Only one hour after the car attack, Defendant East Coast Knights’s prominent

 member “Kneuss” tweeted: “At least nobody important got hurt. #Charlottesville,” followed by

 another tweet stating, “Dirty apes playing in the street gotta learn the hard way

 #Charlottesville.” 8 Both tweets were liked by the East Coast Knights Twitter account.

          247.     Later that evening, Defendant Anglin posted a message: “Roadkill Nights

 Powered by Dodge. It’s going down Saturday Aug. 12th from 11am to 10 pm.”

          248.     The following day, Discord participants posted memified photos of Defendant

 Fields driving his car into the crowd, one labeling the car “RESPECT” and the crowd

 “WOMEN.” Another meme circulated online labeled the image “BACK TO THE FHURER.”




 8
  Kneuss, who uses the handle “@realDRKNEUSS” on Twitter, interacts frequently with the East Coast Knights on
 Twitter and they retweet each other frequently; often they are each other’s only retweet. On August 12, at 3:43 p.m.,
 Kneuss tweeted “Big shout out to League of the South, TWP, and NSM the East Coast Knights greatly appreciate
 you and everything you do. #Charlottesville.” The East Coast Knights’ Twitter account retweeted this tweet. On
 September 19, Kneuss tweeted a stylized image saying ECK 33/6, which is a reference to the East Coast Knights.

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        249.   Daily Stormer encouraged followers to find out the details of Heather Heyer’s

 funeral and to attend. A tweet from Jason Kessler’s account referred to Heather Heyer as a

 communist and said: “Communists have killed 94 million. Looks like it was payback time.”

 Jason Kessler claimed he was on a mixture of prescription drugs and alcohol when he wrote that

 message and did not remember it; an agent of Daily Stormer claimed credit for hacking Kessler’s

 account and posting the tweet.

        250.   Defendant Heimbach said of the rally: “We achieved all of our objectives. We

 showed that our movement is not just online, but growing physically. We asserted ourselves as

 the voice of white America. We had zero vehicles damaged, all our people accounted for, and

 moved a large amount of men and materials in and out of the area. I think we did an incredibly

 impressive job.”

        251.   White supremacists debriefed on Discord, celebrating that protesters “got btfo

 [blown the fuck out] by all objective measures / only people who moved us a single inch were

 the zog-cops.” “Kneuss” of the Defendant East Coast Knights celebrated: “3 fatalities in

 #Charlottesville. How many WN’s [white nationalists]? NOT 1. Fuck the left, Fuck commies,




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 and all kayaks belong in ovens. Amen.” This tweet was liked by the East Coast Knights official

 Twitter account.

        252.    Defendant Schoep tweeted: “It was an Honor to stand with U all in C’Ville this

 weeknd. NSM, NF, TWP, LOS, VA, ECK, CHS, and the rest, true warriors!” “Kneuss” and

 other co-conspirators retweeted and liked this. A co-conspirator posted on Facebook: “Don’t feel

 ashamed of Cville. This is your future. This is the enemy.”

        253.    Speaking of Charlottesville in an interview, the grand dragon for Defendant Loyal

 White Knights, said: “I’m sorta glad that them people got hit and I’m glad that girl died. They

 were a bunch of Communists out there protesting against somebody’s freedom of speech, so it

 doesn’t bother me that they got hurt at all.” The Loyal White Knights also changed their

 outgoing voicemail message to say: “Nothing makes us more proud at the KKK than we see

 white patriots such as James Fields, Jr, age 20, taking his car and running over nine communist

 anti-fascist, killing one nigger-lover named Heather Heyer. James Fields hail victory. It’s men

 like you that have made the great white race strong and will be strong again.”

        254.    Likewise, Defendant Spencer told the New York Times that August 12 was “a

 huge moral victory.” Defendant Cantwell told a Vice reporter: “I’d say it was worth it. Nobody

 on our side died . . . none of our people killed anybody unjustly . . . our rivals are just a bunch of

 stupid animals who don’t pay attention that couldn’t just get out of the way of the car.”

 Speaking of counter-protesters like Plaintiffs, he said: “These people want violence and the right

 is just meeting market demand.”




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 III.    Defendants’ Actions Have Caused and Will Continue to Cause Damage to Plaintiffs

 A.      The Unlawful Acts By Defendants, Co-Conspirators and Others
         Acting at Their Direction Caused Serious Injury, Including To Plaintiffs

         1)       Defendants’ Actions Caused Serious Bodily Injury and Damage to Property

         255.     The planned violence brought about by Defendants in Charlottesville on August

 11 and 12 left an indelible mark on Plaintiffs, Charlottesville, and the rest of the country. Three

 innocent people lost their lives: a peaceful protestor, Heather Heyer, and two state law

 enforcement officers, Lieutenant H. Jay Cullen and Trooper Pilot Berke M.M. Bates. At least 34

 individuals, including Plaintiffs, were injured and countless others were victims of assault.

 Hundreds, if not thousands, were subjected to verbal abuse, threats, harassment, and intimidation

 when Defendants, co-conspirators, and their followers chanted and shouted overtly anti-Semitic,

 racist, xenophobic, and homophobic messages.

         256.     Countless public officials, including Virginia’s governor Terry McAuliffe,

 Attorney General Jeff Sessions, and Senators Cory Gardner, Ted Cruz, and Ron Wyden, have

 recognized that the Unite the Right “rallygoers” were motivated by racism, xenophobia, and anti-

 Semitism, that the “rallygoers” engaged in hate-based violence, and that the events that unfolded

 were properly characterized as domestic terrorism.

         257.     On September 12, 2017, Congress passed a unanimous and bipartisan joint

 resolution “rejecting white nationalists, white supremacists, the Ku Klux Klan, neo-Nazis, and

 other hate groups,” recognizing that they engaged in a “horrific and violent display of bigotry” in

 Charlottesville, and condemning “the violence and domestic terrorist attack that took place

 during events between August 11 and August 12, 2017.” 9


 9
          Joint resolution condemning the violence and domestic terrorist attack that took place during events
 between August 11 and August 12, 2017, in Charlottesville, Virginia, S.J. Res. 49, 115th Cong., 115 Stat. 58 (2017),
 https://www.congress.gov/bill/115th-congress/senate-joint-resolution/49/text?r=95.

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        258.    The joint resolution also documented that the hate-based groups are “organizing

 similar events” around the country, and urged the President to “speak out against hate groups that

 espouse racism, extremism, xenophobia, anti-Semitism, and white supremacy,” and address “the

 threats posed by those groups,” which are currently growing within the United States.

        259.    President Trump signed the resolution, and issued a signing statement “oppos[ing]

 hatred, bigotry, and racism in all forms.”

        2)      Plaintiffs Suffered And Continue To Suffer Serious Injuries

        260.    Plaintiff Magill: Magill has permanent physical injury from a stroke that was

 caused by the trauma of the events of August 11 and 12. Four days after the “rally,” on Tuesday,

 August 15, Magill collapsed at the University of Virginia library. He began losing his vision and

 speech and could barely speak words to tell someone to call an ambulance. Thankfully, he was

 able to motion to someone in the library to call for help, and he was rushed to the hospital.

        261.    Magill was admitted to the emergency room at 10:00 am on Tuesday where

 doctors found that his carotid artery had torn and two blood clots were released to his brain,

 causing a stroke. Medical professionals maintain that Magill’s stroke was a result of trauma to

 his neck as a result of a the events during the weekend.

        262.    Magill spent two days in the hospital and according to medical professionals, will

 never fully recover from the resulting brain injuries. He has lost aspects of his vision and speech

 and has difficulty writing and reading for long periods of time. He has incurred significant

 medical expenses, and will continue to do so. He will need continued medical care. Magill has

 not yet been able to return to work.

        263.    Plaintiff Martin: As a result of the car attack, Martin was diagnosed with a

 shattered tibia in his left leg, a fractured ankle, and significant ligament damage. He underwent

 surgery and had two screws placed in his ankle. He experienced swelling in both ankles, and he
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 could not walk for 3 or 4 days. He has been told to expect swelling in his left ankle for at least a

 year. Due to the nature of his job, he will not be able to work for at least 8-9 months. He has

 suffered severe emotional distress that includes having mental flashbacks to the events of the

 "rally." Martin is going to mental counseling twice a week to seek support for his emotional

 trauma.

        264.    Plaintiff Blair: For days after the attack, Blair found herself short of breath,

 shaking, and crying uncontrollably at times. To this day she has trouble focusing, including at

 work, and finds herself often uncharacteristically angry. She is scared of Dodge challengers and

 loud noises. She is also experiencing flashbacks. She is withdrawn and reticent in ways she

 never was before. She has lost about ten pounds since the attack due to lack of appetite. She

 cannot walk by the location of the attack.

        265.    Plaintiff Wispelwey: Wispelwey continues to suffer from emotional distress.

 Wispelwey’s emotional distress has manifested in physical symptoms including constricted chest

 pain, difficulty breathing, and chronic sleep issues. He regularly wakes up with night terrors

 recalling the events of August 11 and 12 and has had to take time off from his work in order to

 cope with the trauma of the weekend. He has seen a trauma-informed therapist, has been

 proscribed with sleep medication, and diagnosed with acute stress disorder. Wispelwey has also

 become hyper-vigilant, especially in crowds.

        266.    Plaintiff Jane Doe 1: Jane Doe 1 suffered serious physical injuries as a result of

 Defendant Fields's terrorist attack. Both of her legs were broken and she suffered severe head

 injuries. The injuries include a tibial plateau fracture in her knee which required major surgery

 to repair bone, multiple ligaments, and cartilage. Jane Doe 1 spent several days in the hospital

 following the surgery. Jane Doe 1 suffered severe contusions all over her body, a concussion,



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 and a head injury requiring stitches. Jane Doe 1’s recovery is expected to take over a year and

 she will require extensive physical therapy, at significant cost. Jane Doe 1 also suffered severe

 emotional distress as a result of the planned event and terrorist attack on August 12. Jane Doe 1

 was not able to return to school as full-time student this semester and has instead been forced to

 take a light course load. Moreover, Jane Doe 1 cannot participate in nearly all of the student

 activities that she previously had enjoyed.

         267.    Plaintiff Jane Doe 2: Since the car attack, Jane Doe 2 has been unable to resume

 normal life. She now spends much of her time caretaking for her daughter. Jane Doe 2 has

 sought psychological support for herself and her family. Jane Doe 2 continues to suffer from

 anxiety, which manifests itself in difficulty sleeping and repetitive anxious thoughts that make it

 very difficult to focus.

         268.    Plaintiff Jane Doe 3: Jane Doe 3 has been unable to resume normal life and

 suffers from severe emotional distress. She spends a significant amount of time taking care of her

 sister, Jane Doe 1, and has not been able to work or seek employment as a result of caretaking

 full time. Jane Doe 3 suffers from severe anxiety after witnessing the events of August 11 and 12

 and has had difficulty sleeping and focusing. Jane Doe 3 has become hyper-vigilant and severely

 anxious in public spaces.

         269.    Plaintiff Muñiz: After experiencing the car attack, in addition to the countless

 other acts of violence and harassment throughout August 12, Muñiz has suffered severe

 emotional injury. For the first days or weeks following the attack, Muñiz could not drive a car.

 She was afraid even to be a passenger without covering her left eye, because the sight of

 oncoming traffic was terrifying. Muñiz has since experienced triggers—moments where she

 relives the fear of that day and she shakes and trembles. She has suffered a few episodes, in

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 which she has fallen to the ground in a catatonic state—she can do nothing but cry and drool for

 long periods. She has been sleeping a lot, has suffered short term memory issues, and has

 become socially withdrawn. She has been unable to obtain medical care for other conditions due

 to her stress, so she continues to suffer from other ailments. She is seeing a therapist multiple

 times per week and has started home therapy. At work, Muñiz used to manage a department of

 around twenty people, with two managers beneath her. Unable to return to work, Muñiz has

 been paid 70% of her pay, and has lost other financial benefits, such as tuition reimbursement.

 She is trying to go back to work, but her company made a decision that she is not capable of

 doing that job anymore. Medical professionals have diagnosed Muñiz with acute stress disorder.

 Muñiz is not yet able to return to work and is on leave for disability.

        270.    Plaintiff John Doe: As a result of being barked at, yelled at, and physically

 assaulted, John Doe has suffered numerous emotional injuries. He has had difficulty focusing in

 school and is constantly recalling the trauma of Friday evening. When he walks past the Thomas

 Jefferson statue on his campus, he is immediately triggered by the recollection of the events on

 August 11. Since the “rally,” John Doe has had difficulty sleeping and has developed a

 heightened, anxious, sense of awareness in public spaces. John Doe also had to miss two weeks

 of work.

        271.    Plaintiff Sines: Upon witnessing the car attack and nearly being hit, Sines

 suffered extreme emotional distress and shock. She often wakes up with nightmares of the car

 attack and her academic performance has suffered in law school as a result. Sines is unable to

 focus, and has missed classes due to her emotional distress. Sines is also now hyper-vigilant,

 and afraid in her own home.




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        272.   Plaintiff Pearce: In addition to the physical and verbal, religious-based assault

 Pearce experienced on August 12, she continues to suffer serious emotional distress. In his

 Hebrew school class, Pearce’s son was asked to answer several writing prompts. In response to

 the question, “what makes me uncomfortable about being Jewish,” he wrote “neo Nazis.”




 B.     Defendants Will Continue to Cause Violence and Intimidation Unless Restrained:
        “We Will Be Back”

        273.   In the weeks after the “rally” and the mass of injuries in Charlottesville,

 Defendants not only claimed “victory,” but swore that they would return. Already, they have

 followed through on their promise.


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         274.    Defendant Spencer said: “To Mayor Mike Signer and Wes Bellamy and all these

 little creeps of this little town who don’t understand who they’re dealing with—the local little

 losers—we are never backing down. We are going to be back.”

         275.    Defendant Anglin wrote on August 14: “As for media rumors that the [Daily

 Stormer] site will be shut down . . . . You should know better. It’s going to take bullets to stop

 us.”

         276.    Co-conspirator McLaren tweeted: “Brothers & sisters across the Alt Right—this

 is a taste of how it feels to be the tip of the spear entering our civilizational crisis.” A few days

 later, he tweeted: “If you were there in #Charlottesville, you’re amused at the pronouncements

 of the Alt Right’s death. We are only just beginning.”

         277.    “There’s no way in hell I’m not going back to Charlottesville,” Defendant

 Spencer declared at a press conference with Defendant Damigo. Defendant Mosley told the

 Huffington Post: “Our people are feeling real good right now…This day was a milestone

 pushing us into our next stage. We had a large turnout. We’re coming back to Charlottesville.”

         278.    The Daily Stormer also vowed that it would hold similar events “soon.” A post

 on the website read: “We are going to start doing this nonstop. Across the country . . . We are

 going to go bigger than Charlottesville. We are going to go huge.” Furthermore, it told readers

 that “[w]e are now at war,” and promised to “take over the country.”

         279.    Kessler promised: “We’re going to have bigger and bigger events in

 Charlottesville.”

         280.    Defendants plan for these other events to be violent. After the Unite the Right

 “rally,” Cantwell explained, “I came pretty well prepared for this thing today,” while pulling out

 three pistols, two semi-automatic machine guns, and a knife. Of the next “alt-right protest,” he



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 said, “it’s going to be tough to top but we’re up to the challenge . . . I think a lot more people are

 going to die before we’re done here, frankly.”

        281.    One week after the Unite the Right “rally,” Richard Spencer’s website, Vincent

 Law, published “The Alt-Right is Finished Debating: No More Words, Only Preparation Now”:

                        Now, what happens next? Our side certainly isn’t ready
                for mass action . . . yet. And there are no street actions planned
                for the near future. Still, the lines have been drawn. Think about
                those brave young men at Charlottesville. There is no going back
                for them. . . .

                        The public will see very soon that debate is pointless.
                There are no principles at play anymore. Only our tribe and
                theirs. And only one group out there has drawn a line in the clay
                and decided to make a stand for what is theirs by birth, by blood
                and by the will of God. The Alt-Right is finished debating,
                negotiating, surrendering. We’re ready to close ranks and fight
                for what is ours. Post-Charlottesville our fleet lies at the bottom
                of a deep and troubled sea and we can only march on forward like
                Cortez once did. And like him, we stand poised to conquer the
                continent.

        282.    On Saturday, October 7, Defendant Richard Spencer and other co-conspirators

 returned to Charlottesville. The called the event “Charlottesville 3.0.” Again, they carried tiki

 torches, and again they chanted “You will not replace us.” But this time, they added: “We will

 be back, we will be back.”

        283.    Although not clear at this point whether Defendants are involved, on October 11,

 it was reported that the Charlottesville Police Department and Federal Bureau of Investigation

 were investigating online posts suggesting that Charlottesville schools should be the target for

 mass shooting as a result of “recent events” in Charlottesville.

                                       CONSPIRACY ACTS

        284.    As detailed above, all Defendants had an agreement and understanding to engage

 in, promote, and incite racial, religious, and ethnicity-based harassment and violence. They did


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 so through, among other things, using and encouraging the use of weapons and caustic

 substances, military-style marches, burning torches, intimidating iconography, and threats of

 violence. They did so in order to (a) injure black and Jewish residents of Virginia by denying

 them the equal privileges and immunities of citizenship, and the use, benefits and privileges of

 property and/or contractual relationships, (b) further Defendants’ cause of recruiting new

 followers to engage in racial, religious and ethnically-motivated violence referenced above both

 at the Unite the Right “rally” and in the future, and (c) compel the city of Charlottesville to

 maintain the statue of Robert E Lee in Emancipation Park as a means of furthering their

 aforementioned goals.

           285.   All Defendants, with the exception of Defendant Fields, on behalf of themselves

 or the organizations for which they are agents, planned and coordinated the Unite the Right

 “rally,” encouraged attendance, actively organized followers to attend, coordinated logistical

 support to attendees, promoted the “rally” as violent, and encouraged attendees to prepare for

 and commit violent acts.

           286.   Among other things, they used online and media platforms to encourage

 attendance at the Unite the Right “rally,” to discuss and promote causing harm to Jewish people

 and people of color, and to promote violence.

           287.   Defendant Spencer and co-conspirator McLaren met in person to plan unlawful

 acts of violence, intimidation, and denial of equal protection for the Unite the Right events.

           288.   Defendants Cantwell and Kessler met in person in Charlottesville to plan

 unlawful acts of violence, intimidation, and denial of equal protection for the Unite the Right

 events.




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        289.    Defendants Ray, Cantwell, and Mosley and co-conspirator David Duke attended

 an in-person planning meeting on August 11 to plan unlawful acts of violence, intimidation, and

 denial of equal protection at the Unite the Right events.

        290.    Defendants Anglin and Ray (using, among other things, Daily Stormer’s website),

 Hill, and East Coast Knights organized and caused others to attend the Unite the Rightevents and

 commit acts of violence, intimidation and denial of equal protection.

        291.    Defendants Nationalist Front, NSM, TWP, League of the South, Vanguard

 America, East Coast Knights, and “other allies,” coordinated their attendance as a “joint

 operation” in advance of August 12, in order to plan unlawful acts of violence, intimidation, and

 denial of equal protection at the Unite the Right events.

        292.    Defendant Damigo and his group Identity Evropa took a lead role in organizing

 white supremacist participation among people from outside Charlottesville to engage in unlawful

 acts of violence, intimidation, and denial of equal protection at the Unite the Right events.

        293.    Defendants Kessler and Mosley organized the “rally” and coordinated logistics,

 along with co-conspirator Tyrone, for attendees on August 12 in Charlottesville so that they

 would engage in unlawful acts of violence, intimidation, and denial of equal protection at the

 Unite the Right events.

        294.    Defendant Kessler and Mosley moderated, reviewed, and managed the

 Charlottesville discussion forum on the application named Discord to direct and plan unlawful

 acts of violence, intimidation, and denial of equal protection at the Unite the Right events.

 Along with Kessler and Mosley, Defendants Heimbach, Parrott, Cantwell, Ray, an agent of Daily

 Stormer (and, hence, Defendants Anglin and Moonbase Holdings), and co-conspirator Tyrone

 were all participants in Discord and in the direction, planning, and inciting of such unlawful acts



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 through Discord, including the use of weapons and objects to inflict harm and intimidate.

 Defendants Vanguard America, Identity Evropa, TWP, League of the South, and Moonbase

 Holdings (through Daily Stormer) all had members on the Discord channel.

           295.   Defendants Cantwell, Ray, and Anglin, among others, advised rallygoers on

 bringing weapons.

           296.   Using Discord, Defendant Kessler and Mosley set up a channel for co-

 conspirators to coordinate unlawful acts at the Unite the Right events, including acts of violence,

 intimidation, and denial of equal protection.

           297.   Defendants Anglin, Ray, and, through Daily Stormer, Moonbase Holdings, set up

 a channel for co-conspirators to coordinate unlawful acts, including acts of violence,

 intimidation, and denial of equal protection, at the Unite the Right events.

           298.   Defendants Cantwell, Kessler, Mosley, Anglin, Ray, and Peinovich, and others,

 raised funds, planned for legal support, and arranged travel for the participants who engaged in

 unlawful acts of violence, intimidation, and denial of equal protection at the Unite the Right

 events.

           299.   Defendants Peinovich, Invictus, Kessler, Spencer, Cantwell, Heimbach, and Hill

 were featured in the promotional poster for the Unite the Right “rally.”

           300.   Defendants Cantwell, Mosley, Spencer, Kessler, Ray, Anglin, and co-conspirators

 planned and organized a “secret” torch parade at UVA for August 11, with a plan and intent to

 intimidate, threaten and harass Charlottesville residents, particularly Jews, blacks and other

 minority residents.

           301.   Defendants Cantwell, Mosley, Spencer, Kessler, Ray and Invictus attended and

 participated in the violent August 11 torch parade, and directed and incited physical assaults and



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 violence, the use of open flames, and the intimidation of minority residents and those who

 advocate for equal rights for minority citizens.

        302.      Defendant Cantwell assaulted peaceful protestors with mace, a caustic substance,

 during the August 11 march.

        303.      Co-conspirators attended the torchlight march on August 11 and engaged in acts

 of intimidation, harassment, and violence.

        304.      All Defendants, with the exception of Anglin, attended and participated in the

 Unite the Right “rally” on August 12, during which they threatened, intimidated, and harassed

 protestors and minority residents. Defendant Fields attended with Vanguard America, wearing

 the uniform white polo and khakis, and carrying a black shield with the Vanguard logo.

        305.      All Defendants, with the exception of Defendant Fields, directed and incited acts

 of violence and intimidation at the Unite the Right “rally” on August 12.

        306.      Co-Conspirators attended the Unite the Right “rally” on August 12 and engaged

 in acts of intimidation, harassment, and violence.

        307.      Defendant Fields deliberately drove his Dodge Challenger into a crowd of

 peaceful protestors on August 12, intending to instill fear in the community and to cause injuries

 on a mass scale.

                                       CAUSES OF ACTION

                                   COUNT I: 42 U.S.C. § 1985(3)

                             (By All Plaintiffs Against All Defendants)

        308.      Plaintiffs incorporate herein by reference the averments contained in all preceding

    paragraphs.

        309.      Defendants plotted, coordinated, and executed a common plan to engage in

 violence and intimidation in the streets of Charlottesville.

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        310.    In furtherance of a conspiracy to violate the rights of Plaintiffs and other black

 and Jewish people and their supporters, Defendants repeatedly engaged in campaigns of

 violence, threats, and intimidation at Lee Park and throughout the city of Charlottesville.

        311.    Defendants have committed numerous overt acts in furtherance of the conspiracy

 to violate Plaintiffs’ rights, which are set forth in the paragraphs above. Defendants have sought

 to create an atmosphere of violence against Plaintiffs, and to violate Plaintiffs’ equal rights,

 including those under U.S.C. §§ 1981 and 1982 to the full and equal benefit of the laws and

 proceedings for the security of persons, and their right to freely use their houses of worship.

        312.    Co-conspirators whose identities are not known committed numerous additional

 acts in furtherance of the conspiracy to violate Plaintiffs’ rights, including those alleged herein.

        313.     The illegal activities described were undertaken by Defendants, their agents, and

 co-conspirators as express overt acts pursuant to an unlawful conspiracy, the purpose of which

 was and is to discriminatorily deprive black, Jewish, nonwhite individuals, and their white

 supporters, of their rights to the equal protection of the laws and their rights to the equal

 enjoyment of the privileges and immunities of citizens of the United States guaranteed by the

 Constitution and laws, because of their race, religion, and open and obvious advocacy for the

 rights of nonwhite individuals.

        314.    As a result of the acts set out in the above paragraphs committed in furtherance of

 this conspiracy, Plaintiffs suffered injuries to their person or property and/or suffered the

 discriminatory deprivation of one or more of their rights or privileges guaranteed by the

 Constitution or laws because of one or more of the illegal overt acts of Defendants and their

 agents. These rights include but are not limited to their rights to be free of the badges and

 incidents of slavery pursuant to the Thirteenth Amendment, including the rights to be free from



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 racially motivated violence and the right to move through and enjoy public spaces, their rights to

 the full and equal benefit of the laws and proceedings for the security of persons, and their right

 to freely use their houses of worship.

         315.     Because of Defendants’ violation of Plaintiffs’ rights, Plaintiffs have suffered

 numerous and various injuries, including bodily injury, injuries to property, lost income, and

 severe emotional distress.

                                    COUNT II: 42 U.S.C. § 1986

                              (By All Plaintiffs Against All Defendants)

         316.     Plaintiffs incorporate herein by reference the averments contained in all preceding

 paragraphs.

         317.     Defendants all possessed actual knowledge of the Section 1985(3) anti-civil rights

 conspiracy described in this complaint that was planned and then underway against the class of

 American citizens described—including a number of the Plaintiffs named herein.

         318.     Defendants, as organizers, planners, promoters, and leaders of the conspiracy,

 were each in a position and had the power to have stopped the anti-civil rights conspiracy or to

 aid in stopping it.

         319.     Each of the Defendants failed and refused to take any steps to attempt to stop this

 conspiracy or any of the overt acts committed in furtherance of the conspiracy so as to stop the

 injuries which occurred to Plaintiffs or to other members of the class of citizens targeted by the

 anti-civil rights conspiracy described.

         320.     The failure of Defendants to take any steps to aid in preventing the actions

 described herein, by informing the lawful authorities or otherwise, violated the command of 42

 U.S.C. § 1986.



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        321.    Plaintiffs suffered their injuries as a result of the individual Defendants’ failure to

 stop the described conspiracy.

                               COUNT III: CIVIL CONSPIRACY

                            (By All Plaintiffs Against All Defendants)

        322.    Plaintiffs incorporate herein by reference the averments contained in all preceding

    paragraphs.

        323.      Each Defendant combined with one or more other persons to accomplish,

    through concerted action, acts for an unlawful purpose, and/or unlawful acts, including:

            •   Subjecting persons to acts of intimidation or harassment, motivated by racial,

                religious, or ethnic animosity, in violation of Virginia Code § 8.01-42.1.

            •   Directing violence at another person, motivated by racial, religious, or ethnic

                animosity, in violation of Virginia Code § 8.01-42.1.

            •   Directing vandalism at a person’s real or personal property, motivated by racial,

                religious, or ethnic animosity, in violation of Virginia Code § 8.01-42.1.

            •   Causing or producing a riot, in violation of Virginia Code § 18.2-408.

            •   Directing, inciting, or soliciting other persons participating in a riot to acts of

                force or violence in violation of Virginia Code § 18.2-408.

            •   Causing public inconvenience, annoyance, or alarm, or recklessly creating a risk

                thereof in violation of Virginia Code § 18.2-415.

            •   Assembling a collection of people for the purpose and with the intention of

                committing, and actually committing, an assault or battery on another person, in

                violation of Virginia Code §§ 18.2-38, 18.2-42, and 18.2-42.1.




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          •   Assembling a collection of people for the purpose and with the intention of

              committing, and actually committing, an act of violence (as defined in Virginia

              Code § 19.2-297.1), in violation of Virginia Code §§ 18.2-38, 18.2-42, and 18.2-

              42.1.

          •   Maliciously causing another person bodily injury by use of any explosive or fire,

              in violation of Virginia Code § 18.2-52.

          •   Burning an object with the intent to intimidate on a highway or other public place

              in a manner having a direct tendency to place another person in reasonable fear of

              apprehension of death or bodily injury, in violation of Virginia Code § 18.2-

              423.01.

          •   Burning an object with the intent to intimidate on the private property of another

              without permission, in violation of Virginia Code § 18.2-423.01.

          •   Committing an act of violence with the intent to intimidate a civilian population at

              large, or influence the conduct or activities of a government through intimidation,

              in violation of § 18.2-46.5.

          •   Possessing, using, selling, giving, distributing, or manufacturing a weapon or

              imitation weapon that could cause serious bodily harm in connection with an act

              of terrorism in violation of Virginia Code § 18.2-46.5.

          •   Inviting, soliciting, recruiting, encouraging, or otherwise causing another to

              participate in an act of terrorism in violation of Virginia Code § 18.2-46.5.

          •   Knowingly providing material support to an individual or organization whose

              primary objective is to commit an act of terrorism, with the intent to further the

              individual or organization’s objectives, in violation of Virginia Code § 18.2-46.5.


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           •   Engaging in an overt act intended to inflict bodily harm, or intended to place the

               victim in fear or apprehension of bodily harm (assault).

           •   Committing an unwanted touching that was neither consented to, excused, or

               justified (battery).

       324.    Each of the Plaintiffs suffered damages resulting from acts committed in

    furtherance of the conspiracy.

       325.    As co-conspirators, Defendants are civilly liable to Plaintiffs for the actions of all

    individuals who acted in pursuit of the common conspiratorial scheme.


                              COUNT IV: NEGLIGENCE PER SE

            (By Plaintiffs Muniz, Sines, Blair, Martin, Jane Doe 1, and Jane Doe 3
                                  Against Defendant Fields)

       326.    Plaintiffs incorporate herein by reference the averments contained in all preceding

    paragraphs.

       327.    Pursuant to Virginia Code 18.2-46.5, any person who commits or conspires to

    commit or aids and abets the commission of an act of terrorism is guilty of a felony.

       328.    Virginia Code 18.2-46.4 defines an “act of terrorism” as, among other things, an

    act of violence committed with the intent to intimidate the civilian population at large.

       329.    Virginia Code 18.2-46.5 was enacted to protect the civilian population from acts

    of terrorism and violence.

       330.    Fields intentionally drove his vehicle into a group of civilians and counter-

    protestors with the intent to murder, injure, and intimidate the civilian population at large, in

    violation of Virginia Code § 18.2-46.5.




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        331.    Plaintiffs, as members of the civilian population, belong to the class of persons for

    whose benefit Virginia Code § 18.2-46.5 was enacted and the violation of the Statute

    constitutes negligence per se.

        332.    The injuries suffered by Plaintiffs were the type of harm against which Virginia

    Code 18.2-46.5 was designed to protect.

        333.    Defendant’s violation of Virginia Code § 18.2-46.5 directly and proximately

    caused the Plaintiffs harm.


                  COUNT V: VIOLATION OF VIRGINIA CODE § 8.01-42.1
        CIVIL ACTION FOR RACIAL, RELIGIOUS, OR ETHNIC HARASSMENT

                            (By All Plaintiffs Against All Defendants)

        334.    Plaintiffs incorporate herein by reference the averments contained in all preceding

 paragraphs.

        335.    Virginia Code 8.01-42.1 creates a civil cause of action for any person who is

 subjected to the following if motivated by racial, religious, or ethnic animosity: (1) acts of

 intimidation or harassment; (2) violence directed at his or her person; or (3) vandalism directed

 against his or her real or personal property.

        336.    Plaintiffs were subjected to acts of intimidation and/or harassment, violence

 directed at their persons, and/or vandalism directed against their real and/or personal property.

        337.    These acts were motivated by Defendants' racial, religious, or ethnic animosity.

                            COUNT VI: ASSAULT AND BATTERY

             (By Plaintiffs Muniz, Sines, Blair, Martin, Jane Doe 1, and Jane Doe 3
                                   Against Defendant Fields)

        338.    Plaintiffs incorporate herein by reference the averments contained in all preceding

 paragraphs.


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        339.     As a result of the intentional and unlawful acts of Defendants as described herein,

 plaintiffs were placed in apprehension of harmful and/or offensive bodily contact, and suffered

 harmful, offensive bodily touching which was neither consented to, excused, or justified.

               COUNT VII: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                 (By Plaintiffs Muniz, Blair, Martin, Jane Doe 1, and Jane Doe 3
                            Against Defendant James Alex Fields, Jr.)

        340.     Plaintiffs incorporate herein by reference the averments contained in all preceding

 paragraphs.

        341.     Defendant Fields intentionally and/or recklessly drove his car into a crowd of

 counter-protestors with the intent to murder, severely injure, and intimidate a civilian population.

        342.     As a result of Defendant Fields' outrageous and extreme actions, Plaintiffs Muniz,

 Blair, Martin, Jane Doe 1, Jane Doe 2, Jane Doe 3 suffered severe emotional distress that no

 reasonable person could be expected to endure.

                                      PRAYER FOR RELIEF

 Wherefore, Plaintiffs respectfully request an award of the following relief:

        343.     A declaratory judgment that the actions described herein deprived Plaintiffs of

 their rights under federal and state law.

        344.     Injunctive relief enjoining Defendants from future violations of rights guaranteed

 by state and federal law.

        345.     Compensatory and statutory damages in an amount to be determined at trial.

        346.     Punitive damages in an amount to be determined at trial.

        347.     Such other relief as the Court deems necessary and just.




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                                      Respectfully submitted,

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